Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 1 of 148 PageID #:2419




                                 TAB 1
Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 2 of 148 PageID #:2420
Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 3 of 148 PageID #:2421
Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 4 of 148 PageID #:2422
Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 5 of 148 PageID #:2423
Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 6 of 148 PageID #:2424
Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 7 of 148 PageID #:2425
Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 8 of 148 PageID #:2426




                                 TAB 2
Case: 1:11-cv-02520
  Case:             Document
         1:11-cv-02520       #: 123-2
                       Document  #: 10 Filed:
                                       Filed:08/30/13
                                              05/31/11Page
                                                      Page91of
                                                            of148 PageID#:66
                                                               11 PageID #:2427




                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

ONE PLACE CONDOMINIUM LLC,                     )
THE SOUTH LOOP SHOPS LLC,                      )
SOUTHBLOCK DEVELOPMENT LLC,                    )
C & K PARTNERSHIP, and                         )
SOUTHBLOCK MANAGEMENT, INC.,                   )      Case No. 1:11-cv-02520
                                               )
              Plaintiffs,                      )
                                               )
vs.                                            )      Hon. Samuel Der-Yeghiayan
                                               )
TRAVELERS PROPERTY CASUALTY                    )      Magistrate Sheila Finnegan
COMPANY OF AMERICA,                            )
                                               )
              Defendant.                       )
                                               )



                        DEFENDANT’S ANSWER AND
              AFFIRMATIVE DEFENSES TO PLAINTIFFS’ COMPLAINT

       Defendant, Travelers Property Casualty Company of America (“Travelers”), for its

Answer and Affirmative Defenses to the Complaint of Plaintiffs, One Place

Condominium LLC, The South Loop Shops LLC, Southblock Development LLC, C & K

Partnership, and Southblock Management, Inc. (collectively referred to as “One Place”),

states as follows:

                                        ANSWER

                                        PARTIES

       1.     Plaintiffs One Place Condominium LLC, The South Loop Shops LLC, and

Southblock Development LLC are each comprised of members who are citizens of

Illinois; Plaintiff C & K Partnership is comprised of partners who are citizens of Illinois;
Case: 1:11-cv-02520
   Case:            Document
          1:11-cv-02520      #: 123-2
                        Document #: 10 Filed:
                                        Filed:08/30/13
                                               05/31/11Page
                                                        Page10 of 11
                                                             2 of 148PageID
                                                                      PageID#:67
                                                                             #:2428




and Plaintiff Southblock Management, Inc. is incorporated and has its principle [sic]

place of business in Illinois.

ANSWER:       Travelers lacks knowledge or information sufficient to form a belief as to
              the truth of the allegations contained in Paragraph 1 and therefore denies
              the same.

       2.     Plaintiffs are owners, developers, and managers of the property located at

1 E. 8th Street, Chicago, Illinois (“the insured premises”).

ANSWER:       Travelers admits that under the policy attached as Exhibit A to the
              Complaint the insured location is 1 E. 8th Street, Chicago, Illinois and
              admits one or more of the plaintiffs are owners, developers or managers
              of the property. Travelers lacks knowledge or information sufficient to form
              a belief as to the truth of the remaining allegations in Paragraph 2 and
              therefore denies the same.

       3.     Defendant Travelers is a citizen of Connecticut as it is incorporated, and

has its principle [sic] place of business in Connecticut and is engaged in the business of

underwriting and issuing builder’s risk insurance policies for certain owners and

developers of property.

ANSWER:       Travelers admits the allegations contained in Paragraph 3.

                                 JURISDICTION AND VENUE

       4.     This court has subject matter jurisdiction over this matter pursuant to Title

28 U.S.C. § 1332(c)(1) because there is complete diversity of citizenship of the parties

and the amount in controversy exceeds $75,000.00.

ANSWER:       Travelers lacks knowledge or information sufficient to form a belief as to
              the truth of the allegations about the citizenship of the plaintiffs. Travelers
              admits the amount in controversy exceeds $75,000.00.

       5.     Venue is proper in this court pursuant to Title 28, U.S.C. § 1391, in that a

substantial part of the events or omissions giving rise to this action occurred in this




                                              2
Case: 1:11-cv-02520
   Case:            Document
          1:11-cv-02520      #: 123-2
                        Document #: 10 Filed:
                                        Filed:08/30/13
                                               05/31/11Page
                                                        Page11 of 11
                                                             3 of 148PageID
                                                                      PageID#:68
                                                                             #:2429




judicial district. In addition, the property that is the subject of this action is situated in

this judicial district.

ANSWER:         Travelers admits the allegations contained in Paragraph 5.

                            COUNT I – BREACH OF CONTRACT

        6.      Plaintiff realleges paragraphs 1 through 5 of the Complaint as and for

paragraph 6 of Count I.

ANSWER:         Travelers realleges its answers to Paragraphs 1 through 5 above for its
                answer to Paragraph 6.

        7.      Travelers issued to One Place an “all-risk” builder’s risk insurance policy

(Policy no.: QT6600203L858TIL06) for the period November 2, 2006 to November 2,

2007 (“the Policy”). Attached as Exhibit “A” is a true and accurate copy of the Policy.

ANSWER:         Travelers denies that the policy is an “all-risk” policy, as it is subject to all
                of its terms, conditions, limitations, requirements, deductibles, exclusions
                and not otherwise. Travelers admits the remaining allegations contained in
                Paragraph 7.

        8.      The Policy issued to One Place covers loss or damage to the Covered

Property during the construction project from any risks of direct physical accidental loss

or damage unless excluded.

ANSWER:         Travelers states that the policy is subject to all of its terms, conditions,
                limitations, requirements, deductibles, exclusions and not otherwise.
                Travelers admits that the policy provides, in part, that Travelers will pay for
                loss to Covered Property from any of the Covered Causes of Loss.
                Travelers admits that the policy provides, in part, that Covered Causes of
                Loss means Risks Of Direct Physical “Loss” except those causes of “loss”
                listed in the Exclusions. Travelers admits that the policy provides, in part,
                that “Loss” means accidental loss or damage. Travelers denies the
                remaining allegations contained in Paragraph 8.

        9.      The Policy denotes $33 million as its “basic limit of insurance.”

ANSWER:         Travelers states that the policy is subject to all of its terms, conditions,
                limitations, requirements, deductibles, exclusions and not otherwise.
                Travelers admits that the policy provides, in part, that the “Basic Limit of

                                                3
Case: 1:11-cv-02520
   Case:            Document
          1:11-cv-02520      #: 123-2
                        Document #: 10 Filed:
                                        Filed:08/30/13
                                               05/31/11Page
                                                        Page12 of 11
                                                             4 of 148PageID
                                                                      PageID#:69
                                                                             #:2430




              Insurance” is $33 million. Travelers denies the remaining allegations
              contained in Paragraph 9.

        10.   The Policy issued to One Place also covers “soft costs” and provides, in

part:

              “We will pay your ‘soft costs’ during the ‘period of delay in
              completion’. Such ‘soft costs’ must result from ‘loss’ to
              Covered Property from any of the Covered Causes of Loss
              which delays the completion of the ‘project’ beyond the
              ‘planned completion date’.”

ANSWER:       Travelers states that the policy is subject to all of its terms, conditions,
              limitations, requirements, deductibles, exclusions and not otherwise.
              Travelers admits that the policy contains, in part, the provision contained
              in Paragraph 10. Travelers denies that One Place is entitled to recover
              any more money under the policy for “soft costs.”

        11.   The Policy denotes the limit of “soft costs” as $3.3 million.

ANSWER:       Travelers states that the policy is subject to all of its terms, conditions,
              limitations, requirements, deductibles, exclusions and not otherwise.
              Travelers admits that the policy provides, in part, that the limit for “Soft
              Cost” and Special Time Element is $3.3 million. Travelers also states that
              the policy contains an “Earth Movement Limit of Insurance” of $2.5 million
              and an “Earth Movement Annual Aggregate Limit Of Insurance” of $2.5
              million. Travelers denies the remaining allegations contained in Paragraph
              11.

        12.   The Policy also contains a section called “additional coverages,” which

provides for a number of additional types of insurance coverage to One Place for the

project, including coverage for “expediting costs and additional costs of construction

materials and labor,” as well as “expense to reduce amount of loss.”

ANSWER:       Travelers states that the policy is subject to all of its terms, conditions,
              limitations, requirements, deductibles, exclusions and not otherwise.
              Travelers admits that the policy contains the sections identified in
              Paragraph 12. Travelers denies that One Place is entitled to recover any
              more money under the policy for these coverages.

        13.   While the Policy was in full force and effect, the insured premises

sustained physical loss or damage of the type insured against.

                                             4
Case: 1:11-cv-02520
   Case:            Document
          1:11-cv-02520      #: 123-2
                        Document #: 10 Filed:
                                        Filed:08/30/13
                                               05/31/11Page
                                                        Page13 of 11
                                                             5 of 148PageID
                                                                      PageID#:70
                                                                             #:2431




ANSWER:       Travelers admits that during the term of the policy the ERS and D-Line
              sustained physical damage which was caused by “earth movement”,
              which is a Covered Cause of Loss under the policy. Travelers denies the
              remaining allegations contained in Paragraph 13.


       14.    One Place further experienced “soft costs,” “expediting costs and

additional costs of construction materials and labor,” and “expense to reduce the

amount of loss,” among other additional damage.

ANSWER:       Travelers admits that One Place incurred “soft costs” during the policy
              period and that Travelers has paid One Place in full for all such “soft
              costs.” Travelers admits that One Place incurred “expediting costs and
              additional costs of construction materials and labor” during the policy
              period, which is subject to a limit of $100,000, and that Travelers has paid
              One Place the entire limit for those costs. Travelers denies that One
              Place incurred “expense to reduce the amount of loss” which is covered
              under the policy. Travelers denies the remaining allegations contained in
              Paragraph 14.

       15.    One Place timely reported the covered loss and damage to Travelers.

ANSWER:       Travelers admits the allegations of Paragraph 15.

       16.    One Place substantially performed all conditions precedent required by

the Policy to be performed by it and complied with the tolling agreement.

ANSWER:       Travelers admits that One Place complied with the tolling agreement.
              Travelers denies all remaining allegations contained in Paragraph 16.

       17.    As a result, it is Travelers’ duty to pay for One Places losses and

damages; but, although requested to do so, Travelers has failed and refused and still

fails and refuses to pay One Place for all of its losses and damages taking the position,

in part, that it owes no more than $2.5 million under the Policy.

ANSWER:       Travelers admits that, in part, the “Earth Movement Limit of Insurance” of
              $2.5 million and the “Earth Movement Annual Aggregate Limit of
              Insurance” of $2.5 million limit Travelers’ total liability under the policy.
              Travelers states that it has already paid One Place $1,345,549.69 and
              owes One Place no more money under the policy. Travelers denies the
              remaining allegations contained in Paragraph 17.

                                             5
Case: 1:11-cv-02520
   Case:            Document
          1:11-cv-02520      #: 123-2
                        Document #: 10 Filed:
                                        Filed:08/30/13
                                               05/31/11Page
                                                        Page14 of 11
                                                             6 of 148PageID
                                                                      PageID#:71
                                                                             #:2432




       18.    As a direct, proximate and foreseeable consequence of Travelers’ breach

of contract, One Place has sustained loss and damage in excess of $75,000.00

including, but not limited to, increased interest expense, interest rate increase and loan

termination fees.

ANSWER:       Travelers denies the allegations contained in Paragraph 18.

       19.    This is an action based on a “written instrument” within the meaning of the

Illinois Interest Act and, therefore, One Place is entitled to prejudgment interest.

ANSWER:       Travelers states that the allegations of Paragraph 19 are legal conclusions
              to which an answer is not required. To the extent an answer is required,
              Travelers denies the allegations contained in Paragraph 19.

                           COUNT II – SECTION 155 RELIEF

       20.    Plaintiff realleges paragraphs 1 through 19 of Count I of the Complaint as

and for paragraph 20 of Count II of the Complaint.

ANSWER:       Travelers realleges its answers to Paragraphs 1 through 19 above for its
              answer to Paragraph 20.

       21.    As of the time of loss in question, Travelers internal claim policies,

practices, and procedures included compliance with the regulations promulgated by the

Illinois Director of Insurance within section 919 of Illinois Administrative code as well as

compliance with sections 154.5 and 154.6 of the Illinois Insurance Code.

ANSWER:       Travelers states that the allegations of Paragraph 21 are legal conclusions
              to which an answer is not required. Travelers states that it did, in fact,
              comply with the stated regulations and codes. Travelers denies it
              committed any improper claim practices.

       22.    One Place is entitled to an award of taxable costs under section 155 of the

Illinois Insurance Code (215 ILCS 5/155) by virtue of Defendant engaging in the

following vexatious and unreasonable conduct including, but limited to:

                                             6
Case: 1:11-cv-02520
   Case:            Document
          1:11-cv-02520      #: 123-2
                        Document #: 10 Filed:
                                        Filed:08/30/13
                                               05/31/11Page
                                                        Page15 of 11
                                                             7 of 148PageID
                                                                      PageID#:72
                                                                             #:2433




     (a)    failing to pay One Place amounts due under the insurance policy within 40
            days of the loss, which constitutes an unreasonable delay in paying the
            claim as a matter of law, in violation of the regulations promulgated by the
            Illinois Director of Insurance within section 919.80(d)(7)(A) of the Illinois
            Administrative Code;

     (b)    failing to advise One Place in writing within 75 days from the date the loss
            was reported of the reason for the delay in not resolving their claim, in
            violation of the regulations promulgated by the Illinois Director of
            Insurance within section 919.80(d)(7)(B) of the Illinois Administrative
            Code;

     (c)    failing to provide One Place with a reasonable written explanation for the
            delay in resolving their claim, in violation of the regulations promulgated by
            the Illinois Director of Insurance within section 919 of the Illinois
            Administrative Code;

     (d)    not attempting in good faith to effectuate a prompt, fair, and equitable
            settlement of One Place’s claim, a claim in which liability was reasonably
            clear, in violation of section 154.6 of the Illinois Insurance Code and the
            regulations promulgated by the Illinois Director of Insurance within section
            919.50 of the Illinois Administrative Code;

     (e)    failing to acknowledge with reasonable promptness pertinent
            communications with respect to One Place’s claim, in violation of the
            regulations promulgated by the Illinois Director of Insurance within section
            919.40 of the Illinois Administrative Code;

     (f)    forcing One Place to retain legal counsel to investigate their claim and to
            file this lawsuit to recover all of the benefits that should have been
            immediately forthcoming under the insurance policy;

     (g)    refusing to pay for all of One Place’s claim without conducting a full, fair
            and prompt investigation based on all available information, in violation of
            its internal claims policies, practices, and procedures and in violation of
            section 154.6 of the Illinois Insurance Code;

     (h)    delaying payment and/or failing to pay for all of One Place’s losses and
            damages based on an unreasonable and erroneous interpretation of its
            own policy provisions;

     (i)    refusing to pay One Place’s claim despite knowing the extent of damage;
            and

     (j)    refusing to pay One Place’s claim despite knowing that Travelers’ own
            experts agreed to a period of delay of at least 105 days or 3 and ½
            months.


                                           7
Case: 1:11-cv-02520
   Case:            Document
          1:11-cv-02520      #: 123-2
                        Document #: 10 Filed:
                                        Filed:08/30/13
                                               05/31/11Page
                                                        Page16 of 11
                                                             8 of 148PageID
                                                                      PageID#:73
                                                                             #:2434




ANSWER:      Travelers denies the allegations contained in Paragraph 22, including all
             of the allegations contained in the subsections of Paragraph 22.

      WHEREFORE, Travelers prays that this Court dismiss Plaintiffs’ Complaint with

prejudice, enter judgment in Travelers’ favor, and award Travelers its attorneys’ fees,

costs, disbursements and expenses and for such other further relief as the Court shall

deem just and equitable.

                              AFFIRMATIVE DEFENSES

                            FIRST AFFIRMATIVE DEFENSE

      The Complaint fails to state a claim upon which relief can be granted.

                           SECOND AFFIRMATIVE DEFENSE

      Travelers did not breach any obligations or duties under the policy.

                           THIRD AFFIRMATIVE DEFENSE

      Under the policy and as a matter of law, One Place is not entitled to recover

consequential damages.

                           FOURTH AFFIRMATIVE DEFENSE

      The Valuation provision under the Policy limits the amount that One Place can

recover for the loss or damage to the ERS and D-Line. (Policy, Form CM T1 43 08 96,

page 10 of 18.)

                            FIFTH AFFIRMATIVE DEFENSE

      Under the Policy, the amount that One Place can recover for expediting and

additional costs of construction materials and labor is $100,000.

                            SIXTH AFFIRMATIVE DEFENSE

      The Policy provides that Travelers will not pay for loss caused by or resulting

from delay. (Policy, Form CM T1 43 08 96, page 7 of 18).


                                            8
Case: 1:11-cv-02520
   Case:            Document
          1:11-cv-02520      #: 123-2
                        Document #: 10 Filed:
                                        Filed:08/30/13
                                               05/31/11Page
                                                        Page17 of 11
                                                             9 of 148PageID
                                                                      PageID#:74
                                                                             #:2435




                            SEVENTH AFFIRMATIVE DEFENSE

       1. The Policy provides:

            “Earth Movement” means any movement of the earth (other than
            “sinkhole collapse”), including but not limited to:

            a. earthquake;

            b. landslide;

            c. earth sinking, rising or shifting;

            d. volcanic eruption, explosion or effusion.

       2.      The Policy provides an “Earth Movement Limit of Insurance” of $2.5

million. The Policy states:

               10. “Earth Movement Limit of Insurance” means the most we will
               pay for “loss” in any one occurrence caused directly or indirectly by
               “earth movement”, regardless of any other cause or event that
               contributes concurrently or in any sequence to the “loss”.

       3.      The Policy provides an “Earth Movement Aggregate Limit of Insurance” of

$2.5 million. The Policy states:

            “Earth Movement Annual Aggregate Limit of Insurance” means the
            most we will pay for all covered “earth movement” occurrences in any
            one policy year.

            a. Begins with the inception date or anniversary date of this policy; and

            b. Ends at the next anniversary date or the expiration date of the policy.

       4. The loss to the ERS and D-Line was caused directly or indirectly by “earth

movement.”

       5. Travelers paid One Place for other losses caused directly or indirectly by

“earth movement” during the policy year.




                                                9
Case: 1:11-cv-02520
  Case:             Document
         1:11-cv-02520       #: 123-2
                       Document  #: 10 Filed:
                                       Filed:08/30/13
                                              05/31/11Page
                                                      Page18
                                                           10of
                                                             of148 PageID#:75
                                                                11 PageID #:2436




          6.   The “Earth Movement Limit of Insurance” and “Earth Movement Annual

Aggregate Limit of Insurance” limit One Place’s overall potential recovery under the

Policy.

                             EIGHTH AFFIRMATIVE DEFENSE

          Travelers reserves the right to offer and rely upon additional affirmative defenses

under further investigation and discovery and up to trial as justice permits.




                                              10
Case: 1:11-cv-02520
  Case:             Document
         1:11-cv-02520       #: 123-2
                       Document  #: 10 Filed:
                                       Filed:08/30/13
                                              05/31/11Page
                                                      Page19
                                                           11of
                                                             of148 PageID#:76
                                                                11 PageID #:2437




Dated: May 31, 2011
                                         Respectfully submitted,

                                         Butler Pappas Weihmuller Katz Craig, LLP

                                           /s/ K. Clark Schirle
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                                         ARDC No. 6199270
                                         cschirle@butlerpappas.com
                                         115 S. LaSalle Street, Suite 3200
                                         Chicago, Illinois 60603
                                         (312) 456-0900
                                         (312) 456-0909 fax




                             CERTIFICATE OF SERVICE

       I hereby certify that on May 31, 2011, a copy of the foregoing was filed
 electronically. Notice of this filing will be sent to the following parties by operation
 of the Court's electronic filing system. Parties may access this filing through the
 Court's system. I also certify that the foregoing is being served this day on all
 counsel of record identified on the below Service List via U.S. Mail.

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  Katherine Smith Dedrick
  Coleman J. Braun
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                                         Suite 3200
                                         Chicago, IL 60603
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                                           11
Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 20 of 148 PageID #:2438




                                 TAB 3
Case: 1:11-cv-02520
   Case:            Document
          1:11-cv-02520      #: 123-2
                        Document  #: 15Filed: 08/30/13
                                         Filed:        Page
                                                06/02/11    211of
                                                         Page  of148 PageID
                                                                  3 PageID   #:2439
                                                                           #:88



                            UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

ONE PLACE CONDOMINIUM LLC,          )
THE SOUTH LOOP SHOPS LLC            )
SOUTHBLOCK DEVELOPMENT LLC,         )                 Case No.: 1:11-cv-02520
C & K PARTNERSHIP, and              )
SOUTHBLOCK MANAGEMENT, INC.,        )                 Honorable Samuel Der-Yeghiayan
                                    )
      Plaintiffs,                   )
                                    )
vs.                                 )
                                    )
                                    )
TRAVELERS PROPERTY CASUALTY )
COMPANY OF AMERICA,                 )
                                    )
                  Defendant.        )
____________________________________)

                        JOINT JURISDICTIONAL STATUS REPORT

       Plaintiffs, One Place Condominium LLC, The South Loop Shops LLC, Southblock

Development LLC, C & K Partnership, and Southblock Management, Inc. (collectively referred

to as “One Place”), by its attorneys, Childress Duffy, Ltd., and Defendant, Travelers Property

Casualty Company of America (hereafter “Travelers”), by and through its attorneys, Butler

Pappas Weihmuller Katz Craig, LLP., for their Joint Jurisdictional Status Report, hereby state as

follows:

I.     Subject Matter Jurisdiction

       This court has subject matter jurisdiction over this matter pursuant to Title 28 U.S.C. §

1332(c)(1) because there is complete diversity of citizenship of the parties and the amount in

controversy exceeds $75,000.00. All of the Plaintiffs are citizens of the state of Illinois:

       a. Plaintiff, One Place Condominium LLC, has been an Illinois limited liability
          company since April 13, 2005. All members of which are and have been at all
          relevant times residents of the State of Illinois. (See “LLC File Detail Report”
Case: 1:11-cv-02520
   Case:            Document
          1:11-cv-02520      #: 123-2
                        Document  #: 15Filed: 08/30/13
                                         Filed:        Page
                                                06/02/11    222of
                                                         Page  of148 PageID
                                                                  3 PageID   #:2440
                                                                           #:89



           attached as Exhibit “A”; see also Affidavit of Wayne I. Chertow attached as
           Exhibit “B”.

       b. Plaintiff, The South Loop Shops LLC, has been an Illinois limited liability
          company since April 13, 2005. All members of which are and have been at all
          relevant times residents of the State of Illinois. See “LLC File Detail Report”
          attached as Exhibit “C”; see also Exhibit B.

       c. Plaintiff, Southblock Development LLC, has been an Illinois limited liability
          company since September 11, 2006. All members of which are and have been
          at all relevant times residents of the State of Illinois. See “LLC File Detail
          Report” attached as Exhibit “D”; see also Affidavit of Harlan Karp attached as
          Exhibit “E”.

       d. Plaintiff, C & K Partnership, is active partnership consisting of two partners:
          Linda Karp and Roselyn Chertow. Linda Karp is a citizen of the State of
          Illinois, her residence being 222 East Chestnut, Chicago, Illinois 60611.
          Roselyn Chertow is a citizen of the State of Illinois, her residence being 6430
          N. Leroy, Lincolnwood, Illinois 60712. See Affidavit of Linda Karp, attached
          as Exhibit “F”; See Affidavit of Roselyn Chertow, attached as Exhibit “G”.

       e. Plaintiff, Southblock Management, Inc., is an Illinois corporation,
          incorporated on October 31, 2005. At all times relevant, its principal place of
          business has been 828 S. Wabash, #200, Chicago, Illinois 60605. See
          “Corporation File Detail Report” attached as Exhibit “H”; see also Exhibit E.

       Travelers is a citizen of the state of Connecticut. Travelers was incorporated in the State

of Connecticut. Travelers maintains its principal place of business and domicile in Hartford,

Connecticut.     See Affidavit of Murray D. Sacks and “Business Inquiry Report” attached as

Exhibit “I”.

       The amount of controversy in this action exceeds $75,000. See Exhibit E; see also

exceprt of claim correspondence dated October 29, 2010, attached as Exhibit “J”.

II.    Venue (Plaintiff’s Position)

       Venue is proper in this court pursuant to Title 28, U.S.C. § 1391, in that a substantial part

of the events or omissions giving rise to this action occurred in this judicial district. In addition,

the property that is the subject of this action, 1 East 9th Street, Chicago IL, 60605, is situated in
Case: 1:11-cv-02520
   Case:            Document
          1:11-cv-02520      #: 123-2
                        Document  #: 15Filed: 08/30/13
                                         Filed:        Page
                                                06/02/11    233of
                                                         Page  of148 PageID
                                                                  3 PageID   #:2441
                                                                           #:90



this judicial district.

Dated: June 2, 2011.


CHILDRESS DUFFY, LTD.                       BUTLER PAPPAS, LLP.


By: /s/ Katherine Smith Dedrick             By: /s/ K. Clark Schirle
   Attorneys for Plaintiff                     Attorneys for Defendant


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    Fax: (312) 494-0202
Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 24 of 148 PageID #:2442




                                 TAB 4
Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 25 of 148 PageID #:2443
Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 26 of 148 PageID #:2444
Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 27 of 148 PageID #:2445
Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 28 of 148 PageID #:2446
Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 29 of 148 PageID #:2447
Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 30 of 148 PageID #:2448
Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 31 of 148 PageID #:2449
Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 32 of 148 PageID #:2450
Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 33 of 148 PageID #:2451
Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 34 of 148 PageID #:2452
Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 35 of 148 PageID #:2453
Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 36 of 148 PageID #:2454
Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 37 of 148 PageID #:2455
Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 38 of 148 PageID #:2456
Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 39 of 148 PageID #:2457
Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 40 of 148 PageID #:2458
Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 41 of 148 PageID #:2459
Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 42 of 148 PageID #:2460
Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 43 of 148 PageID #:2461
Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 44 of 148 PageID #:2462
Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 45 of 148 PageID #:2463
Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 46 of 148 PageID #:2464
Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 47 of 148 PageID #:2465
Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 48 of 148 PageID #:2466
Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 49 of 148 PageID #:2467
Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 50 of 148 PageID #:2468
Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 51 of 148 PageID #:2469
Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 52 of 148 PageID #:2470
Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 53 of 148 PageID #:2471
Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 54 of 148 PageID #:2472
Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 55 of 148 PageID #:2473
Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 56 of 148 PageID #:2474
Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 57 of 148 PageID #:2475
Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 58 of 148 PageID #:2476
Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 59 of 148 PageID #:2477
Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 60 of 148 PageID #:2478
Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 61 of 148 PageID #:2479
Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 62 of 148 PageID #:2480
Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 63 of 148 PageID #:2481
Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 64 of 148 PageID #:2482
Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 65 of 148 PageID #:2483
Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 66 of 148 PageID #:2484
Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 67 of 148 PageID #:2485
Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 68 of 148 PageID #:2486
Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 69 of 148 PageID #:2487




                                 TAB 5
Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 70 of 148 PageID #:2488
Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 71 of 148 PageID #:2489
Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 72 of 148 PageID #:2490
Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 73 of 148 PageID #:2491
Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 74 of 148 PageID #:2492
Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 75 of 148 PageID #:2493
Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 76 of 148 PageID #:2494
Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 77 of 148 PageID #:2495
Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 78 of 148 PageID #:2496
Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 79 of 148 PageID #:2497
Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 80 of 148 PageID #:2498
Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 81 of 148 PageID #:2499
Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 82 of 148 PageID #:2500




                                 TAB 6
Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 83 of 148 PageID #:2501




                             UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

  ONE PLACE CONDOMINIUM LLC,                   )
  THE SOUTH LOOP SHOPS LLC,                    )
  SOUTHBLOCK DEVELOPMENT LLC,                  )        Case No. 1:11 -cv-02520
  C & K PARTNERSHIP, and                       )
  SOUTHBLOCK MANAGEMENT, INC.,                 )
                                               )
         Plaintiffs,                           )
                                               )
  vs.                                          )
                                               )
                                               )
  TRAVELERS PROPERTY CASUALTY                  )
  COMPANY OF AMERICA,                          )
                                               )
                        Defendant.             )
                                                )

               PLAINTIFFS' SUPPLEMENTAL ANWERS TO DEFENDANT'S
                         FIRST SET OF INTERROGATORIES

         Plaintiffs, One Place Condominium LLC, The South Loop Shops LLC, Southblock

  Development LLC, C & K Partnership, and Southblock Management, Inc., state as follows for

  their Supplemental Answers to Travelers' First Set of Interrogatories per the Court's Order:

                                       INTERROGATORIES

  INTERROGATORY NO. 3: Identify the cause of the damage to the earth retention system at
  the One Place Project.

  ANSWER:        Plaintiffs reserve the right to use experts regarding the cause and will supplement

  their answer upon further investigation and through the disclosure of expert opinions in

  accordance with the Federal Rules of Civil Procedure and the Court's scheduling Order.

  INTERROGATORY NO. 5:               Identify, with specificity, the costs (and associated scope of
  work) PlaintiiTs are seeking to recover under the Valuation provision of the Policy for the costs
  to repair, replace or restore the earth retention system.


                                                    1
                                                                                  EXHIBIT
Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 84 of 148 PageID #:2502




  ANSWER:        Plaintiffs object to interrogatory no. 5 as being neither relevant nor reasonably

  calculated to lead to the discovery of admissible evidence as the Valuation provision of the

  Policy does not contain the language set forth by Defendant regarding "the costs to repair,

  replace or restore" the earth retention system.      Without waiving said objection, Plaintiffs

  respond as follows:   The policy provides $33 million in coverage limits under the TM PAK

  COVERAGE FORM CM Ti 43 08 96 for" 'loss' to Covered Property from any of the Covered

  Causes of Loss." Covered Causes of Loss means "RISKS OF DIRECT PHYSICAL 'LOSS'

  except those causes of Ioss' listed in the Exclusions." Policy form CM TI 43 08 96    P. 1.   Loss

  is defined under section F on page I 5, paragraph 1 6 as "accidental loss or damage." Covered

  property is identified in the same section as BL1ilders' Risk" which is defined on page 13 par. 4

  and includes buildings and structures including temporary structures while being constructed and

  property that will become a pennanent lart of the building or structure. Thus, the Policy pays

  for, in part: accidental loss or damage to Covered Property from any of the risks of direct

  physical accidental loss or damage. Based on the policy language, Plaintiffs are seeking to

  recover a total of $3,973,447.82. Some of these amounts can currently be allocated as follows:

  $984,521.38 for earth retention system; $756,539.44 for D-Line caissons; and the remaining

  amount of $2,232,387.00 cannot yet be allocated and Plaintiffs reserve the right to supplement

  this answer with expert opinion, if necessary. See Attachment A for the breakdown for the

  aforementioned allocations.

  INTERROGATORY NO. 6: Identify the cause of the damage to the D-Line caissons and frost
  line at the One Place Project.




                                                 2
Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 85 of 148 PageID #:2503




  ANSWER:         Plaintiffs reserve the right to use experts regarding the cause and supplement their

  answer upon further investigation and through the disclosure of expert opinions in accordance

  with the Federal Rules of Civil Procedure and the Court's scheduling Order.

  INTERROGATORY NO. 9: Identify, with specificity, the costs (and associated scope of work)
  Plaintiffs are seeking to recover under the Valuation provision of the Policy for the costs to
  repair, replace or restore the D-Line caissons and frost line.

  ANSWER:        See Plaintiffs response to interrogatory no. 5 which is incorporated herein by

  reference.

  INTERROGATORY NO. 11: Identify, with specificity, the costs incurred (and associated
  scope of work) to expedite the repair of the earth retention system.

  ANSWER:        Plaintiffs object to interrogatory no. 11 as being neither relevant nor reasonably

  calculated to lead to the discoveiy of admissible evidence as the Policy does not contain

  language which provides that it will pay for only "the costs incurred (and associated scope of

  work) to expedite the repair'S of damaged property, such as the earth retention system. Without

  waiving said objection, Plaintiffs respond as follows:

         The policy provides coverage under the "Additional Coverage" section (see form CM Ti

  43 08 96, p. 2, par. 5) for "Expediting Costs and Additional Cost of Construction Materials and

  Labor" as follows: "We will pay for the following costs made necessary by a Covered Cause of

  Loss to Covered Property at the 'job site': (a) Your costs to expedite repair of Covered Property;

  (b) Your increased cost of construction material and labor" up to a policy limit of $1 00,000."

  See form CM Tl 43 08 96, p. 5, par. It Plaintiffs assume and understand that this is the Policy

  provision referred to in this interrogatory and answer based on that assumption and provide that

  Plaintiffs incurred $215,604 in costs. See Attachment B for the breakdown.




                                                    3
Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 86 of 148 PageID #:2504




          Plaintiffs reserve the right to supplement this answer upon further investigation and

  through the disclosure of expert opinions in accordance with the Federal Rules of Civil

  Procedure and the Court's scheduling Order.

  INTERROGATORY NO. 12:              Identify, with specificity, the costs incurred (and associated
  scope of work) to expedite the repair of the D-Line caissons and frost line.

  ANSWER:        Plaintiffs object to interrogatory no. 12 as being neither relevant nor reasonably

  calculated to lead to the discovery of admissible evidence as the Policy does not contain

  language which provides that it will pay for "the costs incurred (and associated scope of work) to

  expedite the repair" of damaged property, such as the earth retention system. Without waiving

  said objection, Plaintiffs respond as follows:

         The policy provides coverage under the "Additional Coverage' section (see form CM TI

  43 08 96, p. 2, par. 5) for "Expediting Costs and Additional Cost of Construction Materials and

  Labor" providing, in part: "We will pay for the following costs made necessary by a Covered

  Cause of Loss to Covered Property at the "job site: (a) Your costs to expedite repair of Covered

  Property; (b) Your increased cost of construction material and labor" up to a policy limit of

  $100,000. "Form CM TI 43 08 96. p. 5, par. ft Plaintiffs assume and understand that this is the

  Policy provision referred to in this intenogatoly and answer based on that assumption that

  Plaintiffs incurred $215,604 in costs. See Attachment B for the breakdown.

         Plaintiffs reserve the right to supplement the answer upon further investigation and

  through the disclosure of expert opinions in accordance with the Federal Rules of Civil

  Procedure and the Court's scheduling Order.

  INTERROGATORY NO. 13: Identify, with specificity, the increased cost of construction
  materials and labor (and associated scope of work) made necessary by the damage to the earth
  retention system and/or damage to the D-Line caissons and frost line.


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Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 87 of 148 PageID #:2505




   ANSWER:       Plaintiffs object to interrogatory no. 13 as being neither relevant nor reasonably

   calculated to lead to the discovery of admissible evidence as the Policy does not contain

  language which provides that it will pay for "the increased cost of construction materials and

   labor (and associated scope of work) made necessary by" the damage to the earth retention

   system and/or damage to the DLine caissons and fiost line. Without waiving said objection,

  Plaintiffs respond as follows:

         The policy provides coverage under the "Additional Coverage" section (see form CM TI

  43 08 96, p. 2 par. 5) for Expediting Costs and Additional Cost of Construction Materials and

  Labor" providing, in part: "We will pay for the following costs made necessary by a Covered

  Cause of Loss to Covered Property at the 'job site': (a) Your costs to expedite repair of Covered

  Property; (b) Your increased cost of construction material and labor up to a policy limit of

  $100,000. " (see form CM TI 43 08 96, p. 5, par. h). Plaintiffs assume aiid understand that this

  is the Policy provision referred to in this interrogatory and answer based on that assumption that

  Plaintiffs incurred $21 5,604 in costs. See Attachment B for the breakdown.

         Plaintiffs reserve the right to supplement the answer upon further investigation and

  through the disclosure of expert opmions in accordance with the Federal Rules of Civil
  Procedure and the Court's scheduling Order.

  INTERROGATORY NO. 14: Identify the exact number of calendar days Plaintiffs contend
  the loss to the earth retention system delayed the completion of the One Place Project beyond the
  "planned completion date" as well as the project schedule(s) used in determining the days of
  delay and its affect on the "planned completion date."

  ANSWER:        Plaintiffs are currently unable to provide the exact number of calendar days the

  "loss" to the earth retention system delayed the completion of the One Place Project as it has yet

  to disclose its expert opinions. Plaintiffs reserve the right to supplement the answer upon further


                                                  5
Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 88 of 148 PageID #:2506




  investigation and through the disclosure of expert opinions in accordance with the Federal Rules

  of Civil Procedure and the Court's scheduling Order.

             Without waiving the aforementioned reservation, Plaintiffs respond that there were at

  least 46 days that the project was shut down for the earth retention system. Plaintiffs further

  respond that the project was originally scheduled to be completed by April 3, 2008 as detailed on

  the Baseline Construction Schedule (Attachment C). This 'Planned Completion Date" is not in

  dispute.      A partial certificate of occupancy was not obtained until December 10, 2008

  (Attachment D), and construction did not fully conclude until April of 2009 when all

  construction activity ended (Attachment F) for a total period of delay as defined by the policy of

  12 months. Four of these months have been previously allocated to a separate loss that has been

  paid to Plaintiffs by Travelers (Attachment F). Traveler's has determined that the daily incurred

  soft costs during the period of delay were $10,254.10 (Attachment G). This calculation does not

  include the $300,000 payoff penalty on the original construction loan that was applied as a result

  of the extended loan period.

  INTERROGATORY NO. 15: Identify the exact number of calendar days Plaintiffs contend
  the loss to the D-Line caissons and frost-line delayed the completion of the One Place Project
  beyond the "planned completion date" as well as the project schedule(s) used in determining the
  days of delay and its affect on the "planned completion date."

  ANSWER:          Plaintiffs are currently unable to provide the exact number of calendar days the

  "loss" to the earth retention system delayed the completion of the One Place Project as it has yet

  to disclose its expert opinions. Plaintiffs reserve the right to supplement the answer UpOn further

  investigation and through the disclosure of expert opinions in accordance with the Federal Rules

  of Civil Procedure and the Court's scheduling Order.




                                                   6
Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 89 of 148 PageID #:2507




             Without waiving the aforementioned reservation, Plaintiffs respond that there were at

  least 15 days that the project was shut down for the D-Line caissons. Plaintiffs further respond

  that the project was originally scheduled to be completed by April 3, 2008 as detailed on the

  Baseline Construction Schedule (Attachment C). This "Planned Completion Date" is not in

  dispute.      A partial certificate of occupancy was not obtained until December 10, 2008

  (Attachment D), and construction did not fully conclude until April of 2009 when all
  construction activity ended (Attachment E), for a total period of delay as defined by the policy of

  12 months. Four of these months have been previously allocated to a separate loss that has been

  paid to Plaintiffs by Travelers (Attachment F). Traveler's has determined that the daily incurred

  soft costs during the period of delay were $10,254.10 (Attachment G). This calculation does not

  include the $300,000 payoff penalty on the original construction loan that was applied as a result

  of the extended loan period.

  INTERROGATORY NO. 16: Identify, with specificity, the expenses to reduce the amount of
  loss (and associated scope of work) Plaintiffs are seeking to recover under Section A.5.k. of the
  Policy.

  ANSWER:          The Policy provides "Additional Coverages" for "Expense to Reduce 'Amount of

  Loss.' Form CM TI 43 08 96. p. 2. The coverage provides: "We will pay the necessary expense

  you incur during the 'post-loss period of construction' if you would not have incurred such

  expense had there not been loss' to Covered Property from any of the Covered Causes of Loss

  which delayed the completion of the project' beyond the "planned completion date."        But we

  will not pay more for your expense than the amount by which such expense reduces the "amount

  of loss" we would have otherwise paid. No deductible applies to this Additional Coverage."

  Form CM Ti 43 08 96, p. 6, par. k.



                                                   7
Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 90 of 148 PageID #:2508




          The expense to reduce the amount of loss totals $1,554,252.94. This is comprised of

  three subcategories. First, $110,629 is for what we refer to as winter conditions (See Attachment

  I).   Certain concrete, masonry and subsequent mechanical, electrical, plumbing and elevator

  work which was weather sensitive per the original schedule was scheduled to be completed

  either prior to the onset of the 2007/08 winter or to be performed in a fully enclosed, weather

  protected structure. The loss resulted in lost construction days, delays in construction, work-

  arounds on site to accommodate loss related repairs and other schedule impacting construction

  inefficiencies directly attributable to the loss, all of which caused some of these construction

  activities to be performed in the following winter. If the loss had not occurred, these activities

  would have been performed before the onset of the winter. As a result, additional unanticipated

  costs were incurred to provide protection from the elements so that work could continue. The

  $110,629 of costs were incurred to allow for work to be performed during winter conditions. If

  such winter condition related costs were not paid for by Plaintiffs, the alternative would have

  been to shut down the jobsite from late November through April, 2008 as evidenced by the letter

  from the Masonry Contractor (Attachment J). Such a shutdown would have added additional

  soft costs of at least 5-months and at the agreed daily amount of $10,254.10 (Attachment G),

  excluding back end penalties and interest charges, $1,538,115 of additional soft costs were

  averted. (Attachment K).

           Second, Plaintiffs incurred $320,3 11 .94 of expenses after to the loss which were

  necessary to attempt to get the project back on line with the critical path schedule. Each lost day

  on the critical path would have at least a daily impact on soft costs, although some accelerated

  work improved the schedule on a better than 1: 1 ratio. There were 82 days of accelerated work

  performed which is equal to $840,836.20 of averted costs. (See Attachment L).

                                                   8
Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 91 of 148 PageID #:2509




          Third, similar to the winter conditions above, the lost construction days, delays in

  construction, work-arounds on site to accommodate the loss related repairs and other schedule

  impacting construction inefficiencies directly attributable to the loss caused inefficiencies which

  resulted in the insured incurring significant additional costs in contract labor. $1,123,312 in

  inculTed costs (Attachment I) primarily from the concrete and plumbing sub-contractors for

  increased period of construction costs as a result of the covered loss.

          Plaintiffs reserve the right to supplement the answer upon further investigation and

  through the disclosure of expert opinions in accordance with the Federal Rules of Civil
  Procedure and the Court's scheduling Order.

  INTERROGATORY NO. 19: Do Plaintiffs contend that Concrete Structures of the Midwest
  provided defective or poor quality work on the One Place Project? If yes, describe the delays that
  were caused by the work of Concrete Structures of the Midwest as well as the exact number of
  calendar days the overall completion of the One Place Project was delayed by that work.

  ANSWER:          Yes.   Plaintiffs allege that Concrete Structures did not complete its work until

  April 11, 2008, which was 66 days after the completion date set for Concrete Structures of

  February 4, 2008. However, Concrete Structures was affected by the delays due to the earth

  retention system and D-Line, and the Plaintiffs do not contend that the work defective or poor

  quality work done by Concrete Structures caused any delays to the overall completion of the One

  Place Project.

         Plaintiffs reserve the right to supplement the answer upon further investigation and

  through the disclosure of expert opinions in accordance with the Federal Rules of Civil

  Procedure and t]ie Court's scheduling Order.

  INTERROGATORY NO. 24: Identify, in detail, all losses, damages, fees, costs, or expenses
  Plaintiffs seek to recover from Travelers and, for each category of loss, damage, fee, cost or
  expense, identify the amount the Plaintiffs seeks to recover, the associated scope of work, the
  specific provision in the Policy pursuant to which the Plaintiffs believes they are entitled to
                                                   9
Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 92 of 148 PageID #:2510




  recover said losses, damages, fees, costs or expenses, and all Persons with knowledge of said
  losses, damages, fees, costs or expenses, and/or who will testify with will testify with regard to
  your claim for losses, damages, fees, costs or expenses.

  ANSWER:        Plaintiffs refer to their previous answer to interrogatory no. 24, and interrogatories

  nos. 5, 9, 11 - 16, supra. Further answering, Plaintiffs are seeking:

  Loss to covered property:                      53.973,449.82

  Escalation costs:                              $100,000 (loss is $215,604)
  Costs To Reduce Loss:                          $1,554,252.94
  Soft Costs:                                    $2,985,897.54

  Total:                                         $8,613,600.30
  Minus amount paid by Travelers:                $1,345,550.70
  Total remaining amount of the claim:           $7,268,049.60

         Prejudgment interest, consequential loss including penalties and additional interest on

  loans, renegotiation costs, escalation fees for the loan, loss rental income and other market costs

  are still being investigated as the loans are still being serviced and continue to accrue.

           Plaintiffs reserve the right to supplement the answer upon further investigation and

  through the disclosure of expert opinions in accordance with the Federal Rules of Civil

  Procedure and the Court's scheduling order. and to name expert witnesses.

         Fact witnesses: Robert Levin, Craig Becker, Jeffry Kolb, Harlan Karp, Jerry Karp, Rick

  Sarff, Murray Sacks. Plaintiffs reserve the right to disclose additional witnesses.

  Dated: April 5, 2012.
                                                         Respectfully submitted,

                                                         One Place Condominium LLC, The South
                                                         Loop Shops LLC, Southblock Development
                                                         LLC, C & K Partnership, and Southblock
                                                         Management, Inc.




                                                    10
Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 93 of 148 PageID #:2511




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                                         11
Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 94 of 148 PageID #:2512




                                                                            Case No. 1:11-cv-02520
                                   CERTIFICATE OF SERVICE

          I, the undersigned, a non-attorney, on oath state I served the above referenced documents by
  mailing a copy of the same in au envelope properly addressed, sealed and stamped and depositing in
  the U.S. Mail at 500 North Dearborn Street, Suite 1200, Chicago, Illinois 60654 on the 5th day of
  April, 2012.

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                                                  12
Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 95 of 148 PageID #:2513




                                           VERI F'ICATION

  BEFORE ME, the undersigned authority, a Notary Public on this day personally appeared Harlan
  Karp who being by me duly sworn on oath deposed and said that he has read the foregoing
  Plaintiffs' Supplemental Answers to DefendantTs First Set of Interrogatories and that every
  statement contained therein is based on information and belief, true and correct




                                                                                LAN KARP




  Subscribed and Sworn to before me, on this          day of April, 2012.




  Notary Public in and for the state of Illinois



  My commission Expires on:



   A1A3L&S          ZO!-
                                                             OFFICiAL SEAl.
                                                            NCO1.E BELLAVL
                                                    t'LOtARY PThL1C. STATE OF tLL1N0$
                                                         COUN1Y OF COOfC
                                                   C0MMSSIoN EXPIRES AUGUST 2012



  Signature
                                                      Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 96 of 148 PageID #:2514




                                                                                                                            ERS                DLINE         Unseparated        Total               Difference

Total Direct Costs per October letter                                                    2,871,048.76                             984,521.38    756,539.44    1,129,987.94
                                                                                     $                                                                                              2,871,048.76         0.00
             plus:        General Conditions not included by MKA or October Letter         628,532.41                                                           628,532.41            628,532.41
                                   e eo i'0j S S o'     d toeL                                                                                                  213,101.50            213,101.50
             plus:        Project Management not included in October Letter                84,000.00                                                             84,000.00             84,000.00
             plus:        Construction Management not included in October Letter          177,387.79                                                            177,387.79            177,387.79
             plus:        O&P not included in MKA or October Letter                       327,031.99                                                            327,031.99            327,031.99
             plus:        Insurance not included in October Letter                         67,622.91                                                             67,622.91             67,622.91
             less:        Amount to Reduce Loss                                          (220,311.94)                                                          (220,3 1 1.94)        (220,311.94)
             less:        MKA Verified Expenditing Loss                                  (100,000.00)                                                          (100,000.00)          (100,000.00)
             less:        MKA deemed "direct which was part of Caisson Claim              (17,420.00)                                                           (17.420.00)           (17,420.00)
                                                                                           (57.545.60)                                                          (57,545.60)           (57,545.60)
                                                                                                         $   3,973,447.82                       756,539.44    2,232,387.00          2,988,926.44




                                                                                                                                                                 205096.72
                                                      Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 97 of 148 PageID #:2515




ERS Summary
                                                                                                        ERS             DLINE       Linseparated       Total       Difference
                                                                            Amount        Workbook
MKA Verified Direct Damage Loss ("Verified Loss")                        $ 1,151.310.02      A        422,242.58       241,607.38     487,460.07    1,151,310.02        0.00
MKA Verified Expediting Loss (Policy Limit)                                  100,000.00     n/a                                       100,000.00      100,000.00         -      <--- removed from Total Direct
P/us.
Direct Costs per "Claim Analysis" Not included in "Verified Loss"             24,598.51      B       $  2,492.05   $    22,106.46                      24,598.51
Additional Costs Due Insured                                               1,298,374.91      C       $559,786.75   $ 492,825.60     $ 245,762.56    1,298,374.91
Testing Costs per "Claim Analysis" Not included in "Verified Loss"            76,453.38                                                76,453.38       76,453.38
Cost Spent to Reduce Loss                                                    220,311.94      D                                        220,311.94     220,311.94

Total Direct Costs                                                       $ 2.871 048.76               984,521.38       756,539.44    1,129,987.94   2,871,048.76        0.00
                                                         Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 98 of 148 PageID #:2516


            One Place Condominiums and South Loop Shops
                   1 E 8th Street Chicago, IL 60605

                                                                                 Per
                                                                               Insured                                                               ERS              DIme              Unsepa rated

                         Vendor                               Invoice Date   Verified Loss Notes


NAC Corporation                                    March '07                     7,082.50                                                                  7,082.50
Wiss, Janney, Elstner Associates, Inc.             August '07                    7,500.00                                                                                    7,500.00
Rada Architects                                    March 07                      1,974.50                                                                  1,974.50
Professionals Associated                           March 07                     15,049.00                                                              15,049.00
Professionals Associated                           April '07                    17,616.00                                                              17,616.00
Professionals Associated                           September '07                 4,224.00 Test costs are direct                                                              4,224.00
Professionals Associated                           June '07                      1,336.00 Test costs are direct                                            1,336.00
Professionals Associated                           June '07                      1,002.00 Test costs are direct                                            1,002.00
Universal Construction Testing, Ltd.               May '07                       4,810.00 CS to review invoice and explain why direct                      4,810.00
Universal Construction Testing, Ltd.               June '07                     10,209.00 CS to review invoice and explain why direct                  10,209.00
Universal Construction Testing. Ltd.               July '07                     14,378.00                                                              14,378.00
CTI-Construction Testing & Instrumentation. Inc    December-May                  3,965.00 Charlie? --> looks like MKA gave partial                         3,965.00
CTI-Construction Testing & Instrumentation, Inc.   May - July'07                 3,050.00 Charlie?                                                         3,050.00
ASC American Surveying Consultants, P.C.           July - October                6,016.78                                                               6,016.78
Budron Excavating Company                          January'07                   17,420.00                                                              17,420.00
Budron Excavating Company                          March '07                   27,279.31                                                               27,279.31
Levine Construction                                August '07                 189,359.00                                                             189,359.00
Sherry K Corporation                               April '07                   46,620.37                                                               46,620.37
Concrete Structures of the Midwest                 August '07                 126,092.54 Acceleration Costs to maintain schedule                                        126,092.54
Cobra Concrete Cutting                                                          4.33200                                                                                      4,332.00
frstern Architectural                              April '08                   22,520.00 D Line - Charlie to address Rick Comments                                       22,520 00
D Three Construction                               June '07                      6,350.00 D Line - CS/PP to explain what activities were performed                           6,350 00
D Three Construction                               July '07                     6,522.00 D Line - CS/PP to explain what activities were performed                            6,522 00
D Three Construction                               7.1607                        1,005.20 D Line - CS/PP to explain what activities were performed                           1,00520
D Three Construction                               7 .23.07                     2,050.62 D Line - CS/PP to explain what activities were performed                            2,05062
D Three Construction                               November '07(2)              2,708.00 Acceleration                                                                                     2,708.00
RKD Construction Supplies                          August '07                     266.40 ERS/ D Line tools                                                                                  266.40
RKD Construction Supplies                          August '07                   1,066.76 ERS/ D Line tools                                                                                1,066.76
RKD Construction Supplies                          October '07                  2,946.30 ERS/ D Line tools                                                                                2,946.30
RKD Construction Supplies                          November '07                 3,866.93 CS to explain what "foam back fill is" and why it is for D Line                     3,866.93
RKD Construction Supplies                          November '07                   271.40 ERS/ D Line tools                                                                                  271.40
Toltec Services                                    September'07                22,673.00                                                                                 22,673.00
Allied Waste Services                              March/Aug '07                2,957.08 CS to explain why dumpster were for D Line                                          2,957.08
General Contractors Partial General Conditions                                416,619.46                                                                                                416,619.46
                                                                             1,001,139.15                                                            367,167.46         210,093.37      423,878.32
GC Overhead and Profit - 15%                                                  150,170.87                                                              55,075.12          31,514.01       63,581.75
                                                                             1,151,310.02                                                            422,242.58         241,607.38      487,460.07     1,151,310.02
                                     Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 99 of 148 PageID #:2517




One Place Condominiums and The South Loop

Direct Costs per "Claim Analysis' Not included in "Verified Loss"

Vendor                                        Amount      Note
Concrete Structures of the Midwest        $    2,167.00   ci     ERS    $    2,492.05
Concrete Structures of the Midwest            19,223.01   C2     Dime   $   22,106.46
                                          $   21,390.01
GC Overhead and Profit - 15%                   3,208.50
                                          $   24,598.51
                                       Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 100 of 148 PageID #:2518




One Place Condominiums and T

Direct Costs per "Claim Analysis" Not included in "Verified Loss"

 'endor                                         Amount        Note   ERS                Dime                U nseparated
Vibra-Tech                                 $       5,800.00    Dl                                           $     5,800.00
Universal Construction Testing, Ltd.                525.00    02                                  525.00
Universal Construction Testing, Ltd.              16,000.00   03                               16,000.00
Universal Construction Testing, Ltd.              2,188.00    D4                                2,188.00
Budron Excavating Company                         4,140.00    D5            4,140.00
Budron Excavating Company                         3,808.00    D6            3,808.00
Budron Excavating Company                         4,376.00    D7            4,376.00
Budron Excavating Company                         4,140.00    08            4,140.00
Budron Excavating Company                         7,658.96    09            7,658.96
Concrete Structures of the Midwest                4,065.00    010                               4,065.00
Concrete Structures of the Midwest              412,876.00    Dli      412,876.00
Concrete Structures of the Midwest              367,490.00    012                           367,490.00
Concrete Structures of the Midwest               29,490.00    D13          29,490.00
D Three Construction                             20,420.00    D14                              20,420.00
General Conditions                               75,128.13    015                                                75,128.13
CTA Flagging                                     43,036.00    D16                                                43,036.00
Permits                                          44,838.00    D17                                                44,838.00
 roject Management                               36,000.00    D18                                                36,000.00
                                               1,081,979.09                466,488.96          410,688.00       204,802.13
3C Overhead and Profit- 15%                     162,296.86    019           69,973.34           61,603.20         30,720.32
 onstruction Management - 5%                      54,098.95   020           23,324.45           20,534.40        10,240.11
                                           $   1,298,374.91                559,786.75   $      492,825.60   $   245,762.56    $   1,298,374.91
                                       Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 101 of 148 PageID #:2519




One Place Condominiums and The South Loop Shops

Acceleration Costs Incurred to Reduce Loss

Vendor                                               Amount
Universal Construction Testing, Ltd.             $     5,211.50
Universal Construction Testing, Ltd.                  21,064.75
Universal Construction Testing, Ltd.                   3,460.00
Universal Construction Testing, Ltd.                   5,749.00
Budron Excavating Company                              4,260.81
Budron Excavating Company                              1,140.86
Concrete Structures of the Midwest                    11,804.00
Concrete Structures of the Midwest                    18,154.52
Concrete Structures of the Midwest                    56,645.55
Bonus Electric Co., LLC                                1,216.40
Bonus Electric Co., LLC                                2,669.81
Bonus Electric Co., LLC                                4,079.00
D Three Construction                                   4,902.92
D Three Construction                                   9,788.00
D Three Construction                                   2,708.00
Crouch-Seranko Masonry                                 4,757.00
Crouch-Seranko Masonry                                32,591.00
Crouch-Seranko Masonry                                30,986.00
PES                                                   46,775.00
PES                                                   10,568.00
                                                     278,532.12
GC Overhead and Profit - 15%                          41,779.82
                                                     320,311.94
Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 102 of 148 PageID #:2520
                                                                                  P-201 1 -O00374.




     One Place Condominiums and The South Loop Shops

    Escalation

    Vendor                                       Amount
    Bonus EIectrc Co., LLC                   $   135,822.00
    Arrigo Enterprises tncorporated               53,920.06
    Crouch-Seranko Masonry                         7,790.00
    PES                                           18,072.00
                                             $   215,604,06




                                                                                      :i :11 3l a

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                                                                                                                                                                                                                                                                                             P-201 1-000253756
- - - - - - - - - - - - - -I
 Levine Construction, Inc                                                 -                              One Place Condominiums & South Loop Shops
 740 Waukegan Road SuIte 400                                                                                                      Baseline Construcion Schedule
 Deerfield It. 60015

                                                                                                                                                                           M,J_JSepternbor                        January                  May           'September       Janua              Na
    0            0       Task Narns                                                                         Duration            Start                Finish                  5/21
                                                                                                                                                                    3/25             7/l6     f   9/10   .11/5    12/31     L
                                                                                                                                                                                                                                2125   I   4/22   6/17   8/12   10(7   12/2   1/27   j 3t2        5/10
    1                    Project duration                                                                    429 days?         Tue 611106            Thu 4/3/05
    2                         Pm Construction                                                                 53 days?         Tue 8/1/06         'Thu 10/12106                     ,,             ,,                  -"
    3                              Contract award                                                                0 clays      Mon 8121/06     .    Mon 8/21/06
    4                              SolkOt sub contractors based on 7120/06 drawing                             25 days       - Tue 8/1/06            Moo 9/4/06
    5                              Bu/ding permit issuance                                '"''                   0 daT           Fri 9/1/06            Fri 0/1/06
    6                              Re bid rssued for construction drawings dated 9/6/06                 -      20 days      - Fri 9/1 5/06        Thu t0/1''06
    7                                      and accept control estimate                    --                     1 day'?t    - Tue 8/1/06            Tue 8/1/06
                                                                                                                                                                                              [1
                         ....-..-. Submil
                                   .... - ---------                                                                    ___l_.................
    8                              Submit and accept conStructpoe OcheduiD                                       1 day?,      Mon 8/11(06          Mon 9/11/06
                              Sucontractawarct                        -
             -                                                                '
   10                              Surrey                                                                       10 days       Mon 6/21/05             Fri 9/1/06
                                                                                                                                                                                         []
   11                TFenci1rgendbaride'f"'"''                                                         .fodays                Mon 6/21/OS              F19/17ö
   12                              Darrrage contool                                                             10 days.      Moo 0/21/06              Fri 9(1/06
                                                                 I)
   13                              Excavation                                                                   10 days       Mon 0/28/06              Fh 9/8/06
   t4                              Caissons                                                                     10 days       Mon 0/28/06             Fri 9/6/06
   15                              Earth retentron                                                             10 days.       Mon 0128/06             Fri 9/8/06
   16                              Concrete                                                                                                                            S
                                                                                                                lOdays.       Mon 8/28/06 .F 9/8/06
   t7                              Electrical                                                                   10 days      Thu 11/16/06            Fri 1211/08
   18                              Plumbing                                        -                            10 days      Thu 11/IS/OS            Fri 12/1/06
   19                               Ir                                                                          lOdaysTIrull/16106                   Fnil2/1/06
   20                              I-tVAt
                                                                                  '' ---------------------- lodaysT/r&'ii/16/06
                                                                                                                                                     Fd12/1/06
   21        f
                                   Masonry                                                                      1OdaysThui1/16/05Fri12/1/06
   22                              Drywall                                                                      10 days      Thu 11/16/06,           Fri 1211/06
                                                                                                                                                                       .




   23                              Metal panels
                                                                                  -                             iOdaysMonhl/27/06:Fril2/8/06
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                     j,_                                                                          -.
             E       I
                                    iilaceousMetai'                                                                            njã'   ifii,b'W
   25                r             Fire protection                                                             10 days       Mon 11/27/05            Fri 12)6/06                                          [j       -

   26                             Wirrdow5"'''                                                                 io'Iiog
   27                              Balcony railings                                                             10 days       Mon 12/4/06           FrI 1211 5/06
   28                              Storefronts, entrances and wirtdow walt                                      10 days       Mon 1214(06           Fd 12/15106
         I




                                                     Task                                              Summary                                              Rolled Up Progress                                   Project Summary
 Project: Dasetine Construction $cfredi
 Date 11/29/06 Rvrsed 1/26107                        Progress                                          Rotted Up Task                                       Sp t                                                 Group By Summary

                                                     Milestone                                         Rotted Up Milestone                                  Ealernat Tasks

                                                                                                                                                  1 of 17
                                                                                                                                                                                                                                                                                                             Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 103 of 148 PageID #:2521
               Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 104 of 148 PageID #:2522
                                                                                                                                         P-201 1-@O25375




                                           December 10, 21)08



                                                     L1JTHORIZATJON FOR THE ISSUANCE OF
                                                         A CERTIFICATE OF OCCUPANCY
    Cay of Ctiiogo
    Rich;ird 1]. DaIc. 7lavor                                         DEI'ARTMENT OF ZONING
    i)cprintiu at /_oiiing
                                                                                        8th
    Pa i.ic
                                          AD1)RESS OF PREMISES:               I East          Street
               ,   SIdiefO)
    Lni,i _\(tii)iflii ritur
                                                                   l)X-12 Zoning 1)istrict
I                                                                     96
                                                                       X
                                                                          Number of Apartments
                                                                            Nuin bem of Paved Parking Spaces
                                                                            Zn u lug Board of Appeals Resolution
                                                                            Con rt Order
                                                                       X    Iandsca ping Seen cit and Right of Eiiti-v
                                                                             Agrecimicut (LOC exp. 03-30-09)
I                                        A Cci'iiflcatc of Occupancy is authorized to be issued as follows:


I                                                                     x     TEr'1PORARY
                                                                            ENTIRE BUILDING
                                                                            S1'ECI tIC LOCATION (Tenant Build-Out)

I                                         [he Department ofLoning hereby ccii lies that the LtSC 0 occupancy Icr the above-
                                         relerenced premises is in cmii rmity viih the plans and specit'ications pursuant to

I                                        Permit No. 06-100134409 for:

                                                                   Phase I - Erect a 96 dwelling nijit, 10 story mixed use
                                         rCSi(ICiltial building with interior parking garage. Fenipo rarv occupancy to
I                                        exclude the require(l andscapjjjg.

                                         and is in contorniance -ithi the app) icahlc provisions of Title 17 of the Municipal
I                                        Code of Chicago, the Chicago Zoning Ordinance. Any certificate of occupancy
                                         issued in conflict with the provisions ot'the ChicaRo Zoning Ordinance shall be null
                                         and void.
I                                        The Department ot Zoning shall issue a permanent certificate of occupancy upon
                                         completion ci die required landscaping. Failure to complete the required andscapin

I                                          nh in six moniiis of the (late 01' tIns cem'tiflcimte, shall result in the Cit-v of Chicago
                                         corn pleting the landscapi ne using the funds on deposit in accordance with he
                                         Landscaping Security arid Right of Entry AgreemenL. Please be advised that a new

I                                        application is required for a permanent certificate oh' occupancy.



I
I   NEIGH9ORHOODS
                                         !\i ichnel li nere la
                                         Assistant Zonine Administrator


I      ii     N.   IL'.L      'ii1 ui:



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                       Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 105 of 148 PageID #:2523




                                                                              7Ol W. Glt Ioad Towei II, Suite L24 Rolfln Madow, ILG0O8
                                                     BVO                    EniuI dutclujUm- tc.eorn OIfIt: R47-4665750 Fax: 84466-51




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            N1r. Bob Eika                                           BrOI                                          (i
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SERGIO GARCiA                                                                                    TOTAL
EMPLOYEE NAME                          SUPERVISOR SIGNATURE
                                                                                                                           Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 106 of 148 PageID #:2524
                Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 107 of 148 PageID #:2525
                                                                                                                                   P-201 1-000253761




                                          1)eccmbcr 10, 2008



                                                    AUTHORIZATION FOR THE ISSUANCE OF
                                                       A CERTIFICATE OF OCCUPANCY
        City of Chicago
        Richard l. Daic'. Maor
                                                                    DEPARTMENT OF ZONING
        I)eartiiciii nt '.)nrIg
I       Pnricia A. .S:iidkro
                                          ADDRESS OF PREMISES:              I East 8°' Street
        2oai   !\dninIsir:tl)r
                                                                  DX-1 2 Zoning District
1       fin I lilt. Roon 9(15
        12 Ncsrih 1. SII Stri'r
                                                                   96   Nuiiibcr of Apartni cuts
        (ti;in. tltinos 60002                                       X Nuinbei of Paved Parking Spaces
     (312) 744-57?7(Vwc                                                 Zoning Board of A1)peals Resolution
    t312) 744-6532 (FAX)                                                  Court Order
      3 12i 7-14-2950 (TIV)
                                                                     X    Landscaping Security and Right ofEntrv
         I p://ww\. tv)1CiIIC.150.flln
                                                                           Agreement (LOC exp. 03-30-09)
    I




                                         A Cern l9catc of Occupancy is authorized to be issued as follows:

                                                                    X     TEMPORARY
                                                                           ETIRE BUILDING
                                                                          SPECIFIC LOCATION (Tenant Buiki-Out)
I                                         ftc Department of Zoning hereby certifies that the use ol occupancy loT the above-
                                         referenced premiSeS is in conformit with the plans and specifications pursuant to

I                                        Permit No. 06-100134409 for:

                                                                    1>hase I- Erect a 96 dwelling unit, 10 story mixed use

I                                        residential building with interior parking garage. Tcinporai-v occupancy to
                                         exclude the required Ia'idsca

                                         and is in conformance with the applicable prOViSionS ofTitle 17 of the Municipal
I                                        Code of Chicago. the Chicago Zoning Ordinance. Any certificate of occupancy
                                         issued in conflict with the provisions ofihe Chicago Zoning Ordinance shall be null
                                         and void.
I                                        The Department of t.onint shall issue a permanent ccrti licate of occupancy upon
                                         completion olthc requited landscaping. Failurcio complete the requl ed landscaping
I                                        within six niunths of the date of this certificate, shall -esult in the City of Chicago
                                         completing the landscaping using (lie funds on deposit in accordance with the
                                         Landscaping Security arid Right of Emry Agreement. Please be advised that a new

I                                        application is reciuirecl for a permanent certificate of occupancy.



I
I        NETGH3ORIIOODS
                                         Michael Tinerella
                                         Assistarit Zoning Administrator


I                                 ir




I
             Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 108 of 148 PageID #:2526
                                                                                                                                                         P-201 1-00025376




                                                                                   1701 W. Goll Road Tovec IU. Suite 1.24    Rolfic   Meadovs. U. 000S
                                                                                  Email: dulclajdn1-c.corn Olilee: 84?-465750 Fax: 847-4&6-5/31




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   D THREE CONSTRUCTIoN
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                       Job Name   Job#                  Work Description     rt limo   End limo     Hours       Totai
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     '/28/O9        ONE PLACE     5183   DEMOBiLIZE                        7AM             3:30             8
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                                                                                                                        8J
   EMPLO''EE NAME                        SUPERVISOR SIGNATURE
                                                                                                                             Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 109 of 148 PageID #:2527
Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 110 of 148 PageID #:2528




                   RELEASE OF 2006 EARTH MOVEMENT CLAIM AND FLOOD CLAIM




         WHEREAS, the Travelers Property Casualty Company of America ('Travelers') issued
         Commercial Inland Marine Policy number         QT-660-0203LS5S-TIL-06       (the "Policy") to One
         Place Condominiums, LLC ("One Place") and other Named Insureds;


         WHEREAS, on or about November 2, 2006, and during the term of the Policy, a loss occurred
         resulting from earth movement into caisson holes and water infiltration into caisson holes at the
         building under construction at I E. 8th Street, Chicago, IL (the "Loss");


         \VHEREAS, One Place has made a claim under the Policy for the Loss ("the 2006 Earth
         Movement and Flood Claim");


         WHEREAS, a dispute has arisen between Travelers and One Place regarding the amount of the
         2006 Earth Movement and Flood Claim that is covered under the Policy;


         WHEREAS, Travelers and One Place have agreed to compromise and settle their differences with
         respect to the   2006   Earth Movement and Flood Claim under the Policy, and this agreement
         ('Release"), the release contained herein, and payment to be made hereunder are in furtherance of
         that purpose;


         NOW THEREFORE, for and in consideration of the payment at this time to One Place by
         Travelers of $425,000.00, with $329,050.00 allocated to the aggregate Flood limit and
         $95,950.00 allocated to the aggregate Earth Movement limit in the Policy, One Place does jointly
         and severally, for itself and for any and all persons, firms, corporations and entities claiming by
         or through them, and for its successors and assigns, hereby release, acquit, and forever discharge
         Travelers and its parent companies, successors, assigns, directors, agents, investigators,
         employees, and all other persons, firms, corporations and legal entities whomsoever which are
         associated with Travelers from any and every claim, demand, right or cause of action, of
         whatsoever kind or nature, arising out of the Earth Movement claim and Flood Claim.


         AS A FURTHER CONSiDERATION for the making of the settlement and the payment of the
         sum $425,000 by Travelers, it is expressly agreed:
Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 111 of 148 PageID #:2529




         That this Release is limited to the 2006 Earth Movement and Flood Claim.


         That this Release reflects a compromise of a disputed claim, and the payment is not to be
         construed as an admission of liability on the part of any Party, by whom liability is expressly
         denied,



         Subject to the conditions set forth in this paragraph, One Place jointly and severally agrees to

         indemnify Travelers, its parent and affiliated companies, successors and assigns, and all of its

         officers, directors, agents, investigators, and employees, of and from any and every claim or

         demand of every kind or character which is asserted by any other Named Insured in the Policy

         because of Travelers' making the above-referenced payment for the Earth Movement Claim and

         the Flood Claim. However, One Place shall only be obligated to indemnify Travelers for all such

         claims or demands only to, and until, the amount being paid by Travelers to One Place of

         $425,000.00 is paid by One Place as indemnity, and only if Travelers immediately notifies One

         Place of the claim or demand via overnight and electronic mail to the address below and allows

         One Place to have control over the defense and resolution of the claim or demand, which control

         includes the retention of, and payment for, counsel to defend against said claim or demand.

         Travelers agrees that it shall not agree to, or make, any payments for such claim or demand unless

         and until One Place and Travelers agree in writing that such payment shall be made. Notice shall

         be sent to the following address and email:



                         For One Place: Mr. Wayne Chertow at 828 S. Wabash,
                                         Suite 200 Chicago, II, 60605
                                        wchertow@yahoo.com

                          For Travelers: Mr. Rick Sarif
                                          Mail Code 9275-NBO8A
                                          385 Washington Street
                                          St. Paul, MN 55102
                                          rsarff@travelers.com


                                                          2
Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 112 of 148 PageID #:2530




         That the Terms and Conditions recited below are fully applicable to this agreement.


         Entire Agreement: This Release constitutes the entire understanding between and among the

         parties with regard to the matters herein set forth. The terms of this Release are contractual and

         not a mere recital. There are no representations, warranties, agreements, arrangements or

         undertakings, oral or written, between or among the parties hereto relating to the subject matter of

         this Release which are not fully expressed herein.



         Binding Effect: This Release shall be binding upon and shall inure to the benefit of the signatories

         and their respective corporate parents, current and former subsidiaries, divisions, affiliated

         companies, and predecessor and successor companies; all of their present, past and future

         officers, directors, employees, stockholders, representatives, predecessors in interest, and

         successors in interest; and any and all persons, firms, associations, andlor corporations connected

         with them, including, without limitation, their insurers, sureties, and attorneys.



         No Precedential Value No Waiver: This Release is without prejudice or value as precedent, and

         shall not be used in any proceeding or hearing to create, prove, or interpret the obligations under,

         or terms and conditions of, any other agreement, Policy QT-660-0203L858-TJL-06 or any other

         insurance policy, except to show payments made under the Earth Movement and Flood aggregate

         limits in Policy QT-660-0203L858-TIL-06. Moreover, this Release does not waive, and shall not

         be deemed as a waiver of any claim, defense or cause of action related to any other claims

         currently submitted or hereafter submitted by One Place to Travelers under the Policy or any

         other contract of insurance between One Place and Travelers.




                                                           3
Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 113 of 148 PageID #:2531




         Attorneys' Fees: The parties hereto acknowledge and agree that each of them will bear their own

         attorneys' fees, costs and expenses arising out of andlor connected to the dispute which is the

         subject of this Release and the negotiation, drafting and execution of this Release, and all matters

         arising out of or connected therewith. Should either party contest any part of this Release or any

         arid all matters arising out of or connected therewith, the prevailing party shall be entitled to

         recover from the other its reasonable attorneys fees and costs.



         Confidential: Except as set forth in this paragraph, the patties and their respective attorneys

         understand and agree that the fact, amount and content of settlement and this Agreement shall

         remain confidential and that the parties to this Agreement, as well as their respective attorneys,

         shall not discuss, reveal, disclose or publicize either the fact, amount or content of this Agreement

         to any third party and shall preserve the confidentiality of this Agreement and its terms. However,

         the parties may disclose: 1) the subject matter and existence of this Agreement as required by law

         or regulation, or as necessary to advise their respective accountants, auditors, tax, legal,

         mortgagees, brokers, reinsurers, underwriters, government regulators and attorneys; or 2) the fact

         of settlement only (but not the amount of content of this Agreement), should the Named Insureds

         under the Policy request such information in           iting from Travelers. Travelers' agrees to

         immediately notify One Place of any such request per the prior notification provision contained

         herein.


         Severability: If any provision or any part of any provision of this Release is for any reason held to

         be invalid, unenforceable or contrary to any public policy, law, statute and/or ordinance, then the

         remainder of this Release shall not be affected thereby and shall remain valid and ftilly
         enforceable.

         Execution in Counterparts: This Agreement may be executed in counterparts.




                                                           4
Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 114 of 148 PageID #:2532




         We understand and confirm that we are fully aware of the consequences of signing this Release
         and enter into it of our own free will.


         IN WITNESS WHEREOF, the undersigned has executed this agreement as of this7              day of
           ece..J,-i 2


                                                                    UC   C(. O(-   L   (U   Lja
                           CONDOMINIUMS, LLC

         IN WITNESS WHEREOF, the undersigned has executed this agreement as of this               day of
                  2010



         FOR TRAVELERS PROPERTY CASUALTY COMPANY OF AMERICA


         WiTNESSED:


         STATE OF ILLINOIS
         COUNTY OF COOK

         Subscribed a    worn to before me this    day of   lCtI'io.
        Notary Public                              OFFCAL SFA.
                                                  NICOtE BEUAA
                                            NOTAf uauc, STATE oc WNO$
                                                COW1W OF COO1C
                                           COMMS&ON EXPiRES AUGUST2012




                                                       S
  Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 115 of 148 PageID #:2533
                                                                                                                                  P-201 1 -00025375(




          DAILY SOFT COSTS ANALYSIS ONE PLACE CONDOMINIUM, LLC REVISED JANUARY 6, 2010


                                                                        O1                         8,'B47. 8
 Soft Cost Item                                                    Yearly Cost                 Monthly Cost        Daily Cost
                                                          m,7/zc1 a                                 96,4iy       ç
 interest                                                                                          & 7. 7
 Original construction loan                              :p        -°                               93,4(2. sc
                      ,'.                                 Dec-08                                  114,287.80
             ,.                               r'          Nov-08                                  108,543.31
                                                          Oct-OS                                  190,388.78
 Total for three months at end of project                 4 flit L
                                                                                       1          413,219.89
 Average daily interest original loan                         12         1L q/,                                         4,491.52
                                                                                   /,?
                                          /              F1's
                                                                                   ,2
 Construction loan 11541524 Chicago Community Bank
  L ° eJ          7          /,   c'4   / / /j           Dec-08                                     8,059.84   //
                                                         Nov-OS                                     8,098.01
             /2'     /.                                  Oct-OS                                     7,836.79   /
Total for three months at end of project
                                                                        'U 1,.
                                                                                   78 .V?..        23,994.64
Average daily interest original loan                                                                                      260.81
                                                                                   799.
Construction loan 1154157 Chicago Community Bank r) 0                              7T97. 7L
                                                         Dec-08                                     7,44993 V
                                                         Nov-08         JthtfiA                     7,605.77 f
                                                         Oct-08                                     4,970.52 /
Total for three months at end of project                                                           20,026.22
Average daily interest Original loan
                                                                         ii      Q4SI /'
                                                                                                                          217.68
                                                         ,,4, ';,         I,       z       q
                                                                        2" L49.4-O
Construction loan C&K Partnership                                       27i,-c.C2, 4-Li
                                                         Dec-08                                    20,455.98 "
                            4,L                          Nov-08                                    20,359.95 -
                                                         Oct-08                                    20,264.37
Total for three months at end of project                                                           61,080.30
Average daily interest original loan                                                                                      663.92

Daily Interest on Construction Loans, Total                                                                            5,633.92

Rent

Starbucks                                                                 86,950.00                                      238.22
X-Port                                                                   892,000.00                                    2,443.84
U&C Foods                                                                 87,296.00                                      239.17
Parking                                                                  587,736.00                                    1,610.24
Average Daily Rent                                                                                                     4,531.46

Real Estate Taxes                                                             10,795.00                                   29.58
                                                                                                                                    Th
Daily Soft Costs                                                                                                      10,194.96
                                                                                                               (



                                                   3cr    ,)<
 Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 116 of 148 PageID #:2534
                                                                                                     P-201 1-000253766




 One Place Condominium, LLC
 Mediation Summary
 ERS/D-Llno Claim

            Category                Owners submitted            Travelers accepted           Notes
                                   costs as of May 2010        costs as of Aug 2010

 Engineering                   $               32218.61        $             16557.00
 Testing                       $              195140.83        $             81,655.78

 Excavating                    $               57,825.00       $             44,699.31
 ERS repairs                   $              189,359.00       $            189,359.00
 Concrete Sherry K             $              46620.73     $                 46,620.37
 Concrete CSM                  $            1.846,083.62   $                126,092.54
 Concrete cutting          $                    4332.00    $                  4,332.00
 Electric                  $                  143,787.21   $
 Arrigo                    $                   53,920.06 $
 Masonry                   $                  170,961.00 S                   22,520.00
Carpentry                      $             210,657.89 $                    18635.82
Imaging                        $                  750.00 $                               -
Materials & supplies       $                   19,083.66 $                   8,417.79
Wight                      $                  39,909.20 $                   22,673.00
Dumpsters                  $                    2,957.08 $                   2,957.08
Temporary Emerg. Work      $                  28,976.00 $                            -
Elevators                  $                  75,415.00 $
Plumbing                   $                   59,533.00 $                           -
Permitextensions           $                  87,188.00 $                   17,437.50
Additional Flaggers        $                 218,254.00 $                   43,036.00
Sidewalk repairs           $                    1,744.00 $                           -
Barricades                 $                  21,451.00 $
Barricade permits          $                    3,288.00 S                           -
General conditions         $               1,120,280.00 $                  191,235.24
                           $               4,629,734.89    $               836228.43

Project management         $                 120,000.00 $
Const. management          $                 231,486.74 $                            -
0&P                        $                 694,460.22 $                  125,434.26
Insurance                  $                  67,622.91 S                            -

Builders Risk Loss         $               5,743,304.76    $               961,662.69
expediiting (included)
Policy limit               $                 (115,604.00) $                100,000.00
Claim data                              Included          $                  5,000.00
Less Deductibles                       Absorbed            $                         -
Builders Risk Claim        $               5,627,700.76    $             1,066,662.69

Soft Cost                  $               3,742,746.50 $                   379,401.70
Less prior paid            $                (959,570.25)           Not considered
                                                                    in this claim
Less 14 day deductible     $                (143,557.40) $                 (143,557.40)
Loan termination fee       $                 300,000.00 $                        -
Renogotiation legal fees   $                  46,279.00    $


Soft Cost Claim            $               2,985,897.85    $              235,844.30
Totals                     $               8,613,598.61    $            1,302,506.99
                                                           $            1,250,000.00




                                                                                                     ai:ii iri
                                                                                                         H
ERS Summary

                                                                              Amount
                                                                                                                   General Conditions
Total Direct Costs per October letter                                     $   2,871,048.76                         Mediation Summary      1,120,280.00
       plus: General Conditions not included by MKA or October Letter           628,532.41                         MKA                     (416,619.46)
      plus:   Non-bucketed invoices submitted to Travelers                      213,1D 1.50                        October Letter (D15)     (75,128.13)
       plus: Project Management not included in October Letter                    84,000.00                                                 628,532.41
      plus:   Construction Management not included in October Letter            177,387.79
       plus: O&P not included in MKA or October Letter                          327,031.99
       plus: Insurance not included in October Letter                             67,622.91                        Project Management
      less:  Amount to Reduce Loss                                             (220,311.94)                        Mediation Summary       120,000.00
      less:   MKA Verified Expenditing Loss                                    (100,000.00)                        October Letter (D18)    (36,000.00)
      less:   MKA deemed direct which was part of Caisson Claim                  (17,420.00)                                                84,000.00
      less:   Difference between Mediaton Summary                                (57,545.60)
                                                                                               $   3,973,447.62    Construction Management
                                                                                                                   Mediation Summary       231,486.74
                                                                                                                   October Letter (020)    (54,098.95)
                                                                                                                                           177,387.79
Escalation                                                                $     215,604.00
     less:   policy limit                                                 $    (115,604.00)
                                                                                               $    100,000.00     O&P
                                                                                                                   Mediation Summary       694,460.22
Costs to Reduce Loss                                                                                               MKA                    (150,170.87)
     Winter Conditions                                                    $     110,626.00                         October Letter (C)        (3,208.50)
     Acceleration                                                         $     320,311.94                         October Letter (019)   (162,296.86)
     Period of Delay (removed $43,036 of Flagging included as 'direct')   $   1,123,312.00                         October Letter (E)        (9,972.18)
                                                                                               $   1554,252.94
                                                                                                                   October Letter (F)      (41,779.62)
                                                                                                                                           327,031.99
                                                                                                   5,627,700.76

                            Total per Mediation Summary                                        $   5,743,304.76
                            Policy Limit                                                       $    (115,604.00)
                                                                                               $   5,627,700.76

                            Difference                                                         $          (0.00)
                                                                                                                                                          Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 117 of 148 PageID #:2535
         Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 118 of 148 PageID #:2536
                                                                                                                            P-201 1 -00025b74




         CROUCH             -       ERANKO V ASON'RY



Ic         '0   N       T       R




                November 14. 2007
                                      A      .T       0   R   S      IN             MASONRY
                                                                                         1307 W. WjcHTwOOn AVENUt
                                                                                                 CHlcoo, ILLINOS 60614
                                                                                            TELEPHONE (773) 21 - 59D0
I                                                                                               FACSIMLE (773) 21 - 5975

                Mr. Josh Warriner
I               Wight Conarniction
                2500 N. Frontage Road
                Darien, Illinois 60561

I               VIA FAX: t3O-737-05l8


I               RE: Winter Protection
                    One Place Condo


I               Dear Mr. Waniner,

                Per your request, we provide the following pricing for enclosure of the hydro scaffolding

Ii              for the purpose of providing winter protection of the eaffolding on the iorth aiid west
                only from floors three to ten for the price of 6,79.O0 . Our proposal does not include
                heat, covering of openings, or repair or mainteta.nce of the eiclosure due to dange, i.e.
                wind.                                                    c
I                                                                            -

                We are pricing four months of bracke/ental. Based on the latest schedule, the exterior
                maaonly duration is 11/27/07-4/22/07 or a duration of 5 months pius 3 weeks to

I               ass abI&dhjant1e the scaffolding. It appears based on current site conditions, we would
                start the tower in January and have a duration of 3-4 month. lithe protection is needed
                        or shorter, the rn.n      r: a         ii would be adjusted accordingly. Please

I               note once the braekets are installed, they remain on th scaffolding for the duration of
                the work.


 I              Please fee! ftee to contact us with any questions or concerns.

                Sincerely,
                CroffchSeranko Masonry
    I.
                Juii Seranko
    I
    I                               0 P)3:c-Lri) (L-1-t)             -       --Oz       -,Th_     v   5




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            Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 119 of 148 PageID #:2537




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                                                           MASONRY SERAHKO CROUCH
Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 120 of 148 PageID #:2538
                                                                                      C




    One Place Condominiums and The South Loop Shops

    Winter Coridftion Costs Incurred to Reduce Loss

    \fndor                                            Amount
    Crouch-Seranko Masonry                       $     67,799.00
    Crouch-Seranko Masonry                              4,516.00
    D Three Construction                               10,410.00
    RKD Construction Supplies                           1,033.87
    RKD Construction Supplies                           1,672.00
    RKD Construction Suppfies                           2,436.00
    R& J Construction Supply Co.                        1,760.00
    Rankin                                              1,696.00
    Ash'and Propane                                        85.00
    R& J Construction Supply Co.                        1983.00
    Home Depot                                          1,789.20
    Wight Construction Company                         15,447.00
                                                $     110,629.07
     Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 121 of 148 PageID #:2539


I
I        One Place Condominiums and The South Loop Shops

I.       Acceleration Costs Incurred to Reduce Loss

         Vendor

I
                                                          Amount
         Universal Construction Testing, Ltd.         $     5,211.50
         Universal Construction Testing, Ltd.              21,064.75


I        Universal Construction Testing, Ltd.
         Universal Construction Testing, Ltd.
         Budron Excavating Company
                                                            3,460.03
                                                            5,749.00
                                                            4,260.81

I        Budron Excavating Company
         Concrete Structures of the Midwest
                                                            1,140.86
                                                           11804.00
         Concrete Structures of the Midwest                18154.52

I        Concrete Structures of the Midwest
         Bonus Electric Co., LLC
                                                           56,645.55
                                                            1,218.40
         Bonus Electric Co., LLC
I
                                                            2,669.81
         Bonus Electric Co., LLC                            4,079.00
         D Three Construction                               4,902.92


I        D Three Construction
         D Three Construction
                                                            9,786.00
                                                            2,708.00
         CrouchSeranko Masonry

I
                                                            4,757.00
         Crouch-Seranko Masonry                            32,591.00
         Crouch-Seranko Masonry                            30,986.00
         PES                                               46,775.00
         PES                                               10568.00
                                                          278532.12


I        BC Overhead and Profit - 15%                      41779.82
                                                          320,311.94



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Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 122 of 148 PageID #:2540




                                  TAB 7
Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 123 of 148 PageID #:2541




                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

ONE PLACE CONDOMINIUM LLC,          )
THE SOUTH LOOP SHOPS LLC,           )
SOUTHBLOCK DEVELOPMENT LLC,         )               Case No. 1:11-cv-02520
C & K PARTNERSHIP, and              )
SOUTHBLOCK MANAGEMENT, INC.,        )
                                    )
      Plaintiffs,                   )
                                    )
vs.                                 )
                                    )
                                    )
TRAVELERS PROPERTY CASUALTY )
COMPANY OF AMERICA,                 )
                                    )
                  Defendant.        )
___________________________________ )

 PLAINTIFFS’ REVISED SUPPLEMENTAL ANWERS TO DEFENDANT’SFIRST SET
                        OF INTERROGATORIES

         Plaintiffs, One Place Condominium LLC, The South Loop Shops LLC, Southblock

Development LLC, C & K Partnership, and Southblock Management, Inc., state as follows for

their Revised Supplemental Answers to Travelers’ First Set of Interrogatories per the Court’s

Order:

                                    INTERROGATORIES

INTERROGATORY NO. 5: Identify, with specificity, the costs (and associated scope of
work) Plaintiffs are seeking to recover under the Valuation provision of the Policy for the costs
to repair, replace or restore the earth retention system.

ANSWER:        Plaintiffs object to interrogatory no. 5 as being neither relevant nor reasonably

calculated to lead to the discovery of admissible evidence as the Valuation provision of the

Policy does not contain the language set forth by Defendant regarding “the costs to repair,

replace or restore” the earth retention system.     Without waiving said objection, Plaintiffs

                                               1
Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 124 of 148 PageID #:2542




respond as follows:   The policy provides $33 million in coverage limits under the IM PAK

COVERAGE FORM CM T1 43 08 96 for “ ‘loss’ to Covered Property from any of the Covered

Causes of Loss.” Covered Causes of Loss means “RISKS OF DIRECT PHYSICAL ‘LOSS’

except those causes of ‘loss’ listed in the Exclusions.” Policy form CM T1 43 08 96 p. 1. Loss

is defined under section F on page 15, paragraph 16 as “accidental loss or damage.” Covered

property is identified in the same section as “Builders’ Risk” which is defined on page 13 par. 4

and includes buildings and structures including temporary structures while being constructed and

property that will become a permanent part of the building or structure. Thus, the Policy pays

for, in part: accidental loss or damage to Covered Property from any of the risks of direct

physical accidental loss or damage. Based on the policy language and further adjustment of the

loss, some of the costs that were previously included in the claim as they had been due and

owing, have since been negotiated and/or no longer need to be paid by Plaintiffs and so these

amounts have been removed from         the claim.   Utilizing the adjusted claim numbers and

responding to this interrogatory: $5,879,062.80 (see attachment A). Some of these amounts can

be currently allocated as follows: $983,308.54 for the earth retention system (see attachment B);

$631,483.84 for D-Line caissons (see attachment C); and the remaining amount of $4,264,270.42

cannot be further allocated but are loss or damage to Covered Property from any of the risks of

direct physical accidental loss or damage. Attachments A, B, and C provide further breakdown

and specific references to previously produced documents in support.

       Additionally, of the $5,879,062.80 some of these amounts are also covered under the

policy provisions entitled “Expenses to Reduce ‘Amount of Loss’” (Form CM T1 43 08 96, at p.

6 of 18) and/or “Expediting Costs” (Form CM T1 43 08 96, at p. 5 of 18). Specifically,



                                               2
Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 125 of 148 PageID #:2543




$1,474,349.50 is also covered under the “Expenses to Reduce ‘Amount of Loss’” provision (see

attachment D), and $95,738.47 is also covered under the “Expediting Costs” (see attachment E).

       Plaintiffs reserve the right to supplement this answer upon further investigation and

through the disclosure of expert opinions in accordance with the Federal Rules of Civil

Procedure and the Court’s scheduling Order.

INTERROGATORY NO. 9: Identify, with specificity, the costs (and associated scope of work)
Plaintiffs are seeking to recover under the Valuation provision of the Policy for the costs to
repair, replace or restore the D-Line caissons and frost line.

ANSWER:        See Plaintiffs response to interrogatory no. 5 which is incorporated herein by

reference.

INTERROGATORY NO. 11: Identify, with specificity, the costs incurred (and associated
scope of work) to expedite the repair of the earth retention system.

ANSWER:        Plaintiffs object to interrogatory no. 11 as being neither relevant nor reasonably

calculated to lead to the discovery of admissible evidence as the Policy does not contain

language which provides that it will pay for only “the costs incurred (and associated scope of

work) to expedite the repair” of damaged property, such as the earth retention system. Without

waiving said objection, Plaintiffs respond as follows:

       The policy provides coverage under the “Additional Coverage” section (see form CM T1

43 08 96, p. 2, par. 5) for “Expediting Costs and Additional Cost of Construction Materials and

Labor” as follows: “We will pay for the following costs made necessary by a Covered Cause of

Loss to Covered Property at the ‘job site’: (a) Your costs to expedite repair of Covered Property;

(b) Your increased cost of construction material and labor” up to a policy limit of $100,000.”

See form CM T1 43 08 96, p. 5, par. h. Plaintiffs assume and understand that this is the Policy

provision referred to in this interrogatory and answer based on that assumption and provide that


                                                3
Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 126 of 148 PageID #:2544




Plaintiffs incurred $95,738.47 in costs.     See Attachment E for the breakdown.         See also

Plaintiffs’ response to interrogatory no. 5 which is incorporated herein by reference.

       Plaintiffs reserve the right to supplement this answer upon further investigation and

through the disclosure of expert opinions in accordance with the Federal Rules of Civil

Procedure and the Court’s scheduling Order.

INTERROGATORY NO. 12: Identify, with specificity, the costs incurred (and associated
scope of work) to expedite the repair of the D-Line caissons and frost line.

ANSWER:        Plaintiffs object to interrogatory no. 12 as being neither relevant nor reasonably

calculated to lead to the discovery of admissible evidence as the Policy does not contain

language which provides that it will pay for “the costs incurred (and associated scope of work) to

expedite the repair” of damaged property, such as the earth retention system. Without waiving

said objection, Plaintiffs respond as follows:

       The policy provides coverage under the “Additional Coverage” section (see form CM T1

43 08 96, p. 2, par. 5) for “Expediting Costs and Additional Cost of Construction Materials and

Labor” providing, in part: “We will pay for the following costs made necessary by a Covered

Cause of Loss to Covered Property at the “job site: (a) Your costs to expedite repair of Covered

Property; (b) Your increased cost of construction material and labor” up to a policy limit of

$100,000. ” Form CM T1 43 08 96, p. 5, par. h. Plaintiffs assume and understand that this is the

Policy provision referred to in this interrogatory and answer based on that assumption that

Plaintiffs incurred $95,738.47 in costs. See Attachment E for the breakdown. See also Plaintiffs’

response to interrogatory no. 5 which is incorporated herein by reference.




                                                 4
Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 127 of 148 PageID #:2545




       Plaintiffs reserve the right to supplement this answer upon further investigation and

through the disclosure of expert opinions in accordance with the Federal Rules of Civil

Procedure and the Court’s scheduling Order.

INTERROGATORY NO. 13: Identify, with specificity, the increased cost of construction
materials and labor (and associated scope of work) made necessary by the damage to the earth
retention system and/or damage to the D-Line caissons and frost line.

ANSWER:        Plaintiffs object to interrogatory no. 13 as being neither relevant nor reasonably

calculated to lead to the discovery of admissible evidence as the Policy does not contain

language which provides that it will pay for “the increased cost of construction materials and

labor (and associated scope of work) made necessary by” the damage to the earth retention

system and/or damage to the D—Line caissons and frost line. Without waiving said objection,

Plaintiffs respond as follows:

       The policy provides coverage under the “Additional Coverage” section (see form CM T1

43 08 96, p. 2 par. 5) for “Expediting Costs and Additional Cost of Construction Materials and

Labor” providing, in part: “We will pay for the following costs made necessary by a Covered

Cause of Loss to Covered Property at the ‘job site’: (a) Your costs to expedite repair of Covered

Property; (b) Your increased cost of construction material and labor up to a policy limit of

$100,000. ” (see form CM T1 43 08 96, p. 5, par. h). Plaintiffs assume and understand that this

is the Policy provision referred to in this interrogatory and answer based on that assumption that

Plaintiffs incurred $95,738.47 in costs. See Attachment E for the breakdown. See also Plaintiffs’

response to interrogatory no. 5, which is incorporated herein by reference.




                                                5
Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 128 of 148 PageID #:2546




       Plaintiffs reserve the right to supplement this answer upon further investigation and

through the disclosure of expert opinions in accordance with the Federal Rules of Civil

Procedure and the Court’s scheduling Order.

INTERROGATORY NO. 16: Identify, with specificity, the expenses to reduce the amount of
loss (and associated scope of work) Plaintiffs are seeking to recover under Section A.5.k. of the
Policy.

ANSWER:        The Policy provides “Additional Coverages” for “Expense to Reduce ‘Amount of

Loss.’ Form CM T1 43 08 96, p. 2. The coverage provides: “We will pay the necessary expense

you incur during the ‘post-loss period of construction’ if you would not have incurred such

expense had there not been ‘loss’ to Covered Property from any of the Covered Causes of Loss

which delayed the completion of the ‘project’ beyond the “planned completion date.” But we

will not pay more for your expense than the amount by which such expense reduces the “amount

of loss” we would have otherwise paid. No deductible applies to this Additional Coverage.”

Form CM T1 43 08 96, p. 6, par. k.

       The expense to reduce the amount of loss totals $1,474,349.50 (see attachment D). This

is comprised of three subcategories.     First, $110,629.07 is for what we refer to as winter

conditions. Certain concrete, masonry and subsequent mechanical, electrical, plumbing and

elevator work which was weather sensitive per the original schedule was scheduled to be

completed either prior to the onset of the 2007/08 winter or to be performed in a fully enclosed,

weather protected structure. The loss resulted in lost construction days, delays in construction,

work-arounds on site to accommodate loss related repairs and other schedule impacting

construction inefficiencies directly attributable to the loss, all of which caused some of these

construction activities to be performed in the following winter. If the loss had not occurred,

these activities would have been performed before the onset of the winter. As a result, additional

                                                6
Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 129 of 148 PageID #:2547




unanticipated costs were incurred to provide protection from the elements so that work could

continue. The $110,629.07 of costs were incurred to allow for work to be performed during

winter conditions. If such winter condition related costs were not paid for by Plaintiffs, the

alternative would have been to shut down the jobsite from late November through April, 2008 as

evidenced by the letter from the Masonry Contractor (Attachment F). Such a shutdown would

have added additional soft costs of at least 5-months and at the agreed daily amount of

$10,254.10 (Attachment G), excluding back end penalties and interest charges, $1,538,115 of

additional soft costs were averted.

        Second, Plaintiffs incurred $260,377.60 of expenses after to the loss which were

necessary to attempt to get the project back on line with the critical path schedule. Each lost day

on the critical path would have at least a daily impact on soft costs, although some accelerated

work improved the schedule on a better than 1:1 ratio. There were 82 days of accelerated work

performed which is equal to $840,836.20 of averted costs.

       Third, similar to the winter conditions above, the lost construction days, delays in

construction, work-arounds on site to accommodate the loss related repairs and other schedule

impacting construction inefficiencies directly attributable to the loss caused inefficiencies which

resulted in the insured incurring significant additional costs in contract labor. $857,617.91 in

incurred costs (Attachment D) primarily from the concrete and plumbing sub-contractors for

increased period of construction costs as a result of the covered loss.

       Plaintiffs reserve the right to supplement this answer upon further investigation and

through the disclosure of expert opinions in accordance with the Federal Rules of Civil

Procedure and the Court’s scheduling Order.



                                                 7
Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 130 of 148 PageID #:2548




INTERROGATORY NO. 24: Identify, in detail, all losses, damages, fees, costs, or expenses
Plaintiffs seek to recover from Travelers and, for each category of loss, damage, fee, cost or
expense, identify the amount the Plaintiffs seeks to recover, the associated scope of work, the
specific provision in the Policy pursuant to which the Plaintiffs believes they are entitled to
recover said losses, damages, fees, costs or expenses, and all Persons with knowledge of said
losses, damages, fees, costs or expenses, and/or who will testify with will testify with regard to
your claim for losses, damages, fees, costs or expenses.

ANSWER:        Plaintiffs refer to interrogatories nos. 5, 9, 11, 12, 13, and 16, supra. Further

answering, based on further adjustment of the loss, some of the costs that were previously

included in the claim as they had been due and owing, have since been negotiated and/or no

longer need to be paid by Plaintiffs and so these amounts have been removed from the claim.

Utilizing the adjusted claim numbers

       The total claim is: $8,182,300.65 which is the total of loss or damage to covered property

of $5,879,062.80 and soft costs (based on eight months) of $2,303,237.85 (see attachment H).

Subtracting the amount paid by Travelers of $1,340,549.69 and the applicable policy deductible

of $50,000, leaves a remaining amount owed to Plaintiffs of: $6,791,750.96. As set forth in the

policy and in interrogatory 5 herein, various costs are covered under more than one policy

provision.

       In addition, Plaintiffs seek prejudgment interest, consequential loss including penalties

and additional interest on loans, renegotiation costs, escalation fees for the loan, loss rental

income and other market costs are still being investigated as the loans are still being serviced and

continue to accrue. See documents previously produced.

       Plaintiffs reserve the right to supplement this answer upon further investigation and

through the disclosure of expert opinions in accordance with the Federal Rules of Civil

Procedure and the Court’s scheduling Order.



                                                 8
Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 131 of 148 PageID #:2549




       Fact witnesses: Robert Levin, Craig Becker, Harlan Karp, Jerry Karp, Charles Shenk,

Rick Sarff, Murray Sacks, Barclay Roberts, James Nagle, Lawrence Goldman, Neo Lorenzo,

Robert Charal, Jason Walker, Ronald Metclafe, and Gaurav Lamba. Plaintiffs reserve the right

to disclose additional witnesses.



Dated: March 1, 2013                             Respectfully submitted,

                                                 One Place Condominium LLC, The South
                                                 Loop Shops LLC, Southblock Development
                                                 LLC, C & K Partnership, and Southblock
                                                 Management, Inc.




                                          By:    ___________________________
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                                             9
Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 132 of 148 PageID #:2550




                                                                         Case No. 1:11-cv-02520
                                CERTIFICATE OF SERVICE

       I, the undersigned, a non-attorney, on oath state I served the above referenced documents by
mailing a copy of the same in an envelope properly addressed, sealed and stamped and depositing in
the U.S. Mail at 500 North Dearborn Street, Suite 1200, Chicago, Illinois 60654 on the 1st day of
March, 2013.



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                                                10
                                                                                                      P-2013-593010
Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 133 of 148 PageID #:2551




                                               VERIFICATION



      BEFORE ME, the undersigned authority, a Notary Public on this day personally appeared Harlan
      Karp who being by me duly sworn on oath deposed and said that he has read the foregoing
      Plaintiffs' Revised Supplemental Answers to Defendant's First Set of Interrogatories and that
      every statement contained therein is based on information and belief, true and correct




      Subscribed and Sworn to before me, on this



      Notary Public in and for the state of Illinois

      My commission Expires on:
Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 134 of 148 PageID #:2552




Engineering

           •   NAC Corp – 3/2007: bates# 15-17 1 =                    $7,082.50
           •   Wiss Janney – bates# 19-21 =                           $7,500.00
           •   Wiss Janney – bates# 22; 1724 - 1725 =                 $2,280.20
           •   Wiss Janney – bates# 23-24 =                           $350.00
           •   Wiss Janney – bates# 1729-1734 =                       $700.00
           •   Ground Engineering – bates# 26-28 =                    $5,265.00
           •   Ground Engineering – bates# 29 =                       $1,875.00
           •   Ground Engineering – bates# 1743 =                     $2,147.00
           •   Ground Engineering – bates# 1742 =                     $1,125.00
           •   Ground Engineering – bates# 1739-1741 =                $750.00
           •   Ground Engineering – bates# 1738 =                     $1,177.00
           •   Rada Arch – 3/2007: bates# 30-32 =                     $1,974.50


                                                      INVOICE TOTAL   $32,226.20
Testing

           •   Vibra-Tech –bates# 41-50=                              $5,800.00
           •   Professional Associated – 3/2007: bates# 52; 1173-1785 =$15,049
           •   Professional Associated – 4/2007: bates# 53-65 =       $17,616
           •   Professionals Associated – 4/2007: bates# 71-76=       $4,224
           •   Professionals Associated – bates# 70 =                 $7,040.00
           •   Professionals Associated – bates# 66-69 =              $6,336.00
           •   Professionals Associated – bates# 71 =                 $4,224.00
           •   Professionals Associated – bates# 82 =                 $10,560.00
           •   Professional Associated – 6/2007: bates# 77-78=        $1,336.00
           •   Professionals Associated – 6/2007: bates# 79-80 =      $1,002.00
           •   Professionals Associated – bates# 81 =                 $3,736.00
           •   Professionals Associated – bates# 83 =                 $668.00
           •   Professionals Associated – bates# 84 =                 $334.00
           •   Professionals Associated – bates# 1786-1787 =          $704.00
           •   UCT – 5/2007: bates# 90-91; 1789-1803 =                $4,810.00
           •   UCT – 6/2007: bates# 92-93=                            $10,209.00
           •   UCT – 7/2007: bates# 94- =                             $14,378.00
           •   UCT – bates# 95 =                                       $5,736.50
           •   UCT - bates# 96 =                                      $16,000.00
           •   UCT - bates# 97 =                                      $2,188.00
1
    All bates# are to OP-GM/AI00----; unless otherwise noted

                                                          1

                                                                                   Attachment A
Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 135 of 148 PageID #:2553




      •   UCT - bates# 98 =                                    $17,750.00
      •   UCT – bates# 99 =                                    $21,064.75
      •   UCT – bates# 100 =                                   $3,460.00
      •   UCT – bates# 101 =                                   $5,749.00
      •   CTI – Dec. to May: bates# 103 =                      $6,100.00
      •   CTI – May to July: bates# 104 =                      $3,050.00
      •   ASC – July to October: bates#106-108; 1879-1882 =    $6,016.78

                                      INVOICE TOTAL            $195,141.03



Excavating

      •   Budron – 3/2007: bates# 185-195 =                    $27,279.31
      •   Budron – bates# 196 =                                $4,140.00
      •   Budron – bates# 198 -203 =                           $4,828.00
      •   Budron – bates# 204-206 =                            $4,376.00
      •   Budron – bates# 207 - 208=                           $4,140.00
      •   Budron - bates# 209 – 214 =                          $11,919.77
      •   Budron – bates# 215 =                                $1,140.86

                                      INVOICE TOTAL            $57,823.94
ERS Repairs

      •   Levine – 8/2007: bates# 218 =                        $189,359.00

Concrete Sherry K

      •   Sherry K Corp – 4/2007: bates# 220; 2258-2260        $46,620.73

Concrete CSM

      •   CSM – bates#221-230 =                                $11,804.00
      •   CSM - bates# 231-238 =                               $2,167.00
      •   CSM – bates# 239-253 =                               $19,223.01
      •   CSM – 8/2007: bates# 254-298 =                       $144,238.06
      •   CSM – bates# 299-342=                                $56,645.55
      •   CSM - bates# 343=                                    $4,065.00
      •   CSM – bates# 344-347 =                               $412,876.00
      •   CSM - bates# 348- =                                  $253,722.00
      •   CSM – bates# 349 =                                   $29,490.00

                                          2

                                                                              Attachment A
Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 136 of 148 PageID #:2554




      •    CSM – bates# 1884 - 1893=                           $769,132.00
      •    CSM – bates# 1895 - 1905 =                          $5,994.91
      •    CSM – bates# 1907 – 1931 =                          $22,958.00

                                        INVOICE TOTAL          $1,732,315.53
Concrete Cutting

      •    Cobra Concrete – bates# 350; 1934-1937 =            $4,332.00

Water Proofing

      •    Sager Sealants – bates# 352 - 354                   $1,060.80
Electric

      •    Bonus Electric – bates# 356-358 =                   $1,216.40
      •    Bonus Electric – bates# 359-365 =                   $2,669.81
      •    Bonus Electric – bates#1939-1942 =                  $4,079.00

                                        INVOICE TOTAL          $7,965.21
Arrigo

      •    Arrigo Enterprises Inc. - bates# 1943-1945=         $53,920.06

Masonry

      •    Crouch-Seranko – bates# 372-375 =                   $67,799.00
      •    Crouch-Seranko – bates# 1951-1955 =                 $4,757.00
      •    Crouch-Seranko – bates# 1956-1962=                  $32,591.00
      •    Crouch-Seranko - bates# 1984-1994 =                 $4,518.00
      •    Western Arch – 4/2008: bates# 1996-2002=            $22,520.00
      •    Crouch-Seranko -6/2008: bates# 1950=                $7,790.00
      •    Crouch-Seranko – bates# 2009-2011 =                 $30,986.00

                                        INVOICE TOTAL          $170,961.00
Carpentry

      •    D Three– 6/2007: bates# 377-382=                    $6,350.00
      •    D Three – 7/2007: bates#383-390 =                   $6,522.00
      •    D Three – 7/16/07: bates # 390-395=                 $1,005.20
      •    D Three – 7/23/07: bates# 396-401=                  $2,050.62
      •    D Three - bates#402-416 =                           $20,420.15
      •    D Three – bates# 417-424=                           $4,902.92

                                           3

                                                                               Attachment A
Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 137 of 148 PageID #:2555




      •   D Three – bates# 425-430=                              $9,788.00
      •   D Three – 11/2007: bates# 427-431=                     $2,708.00
      •   D Three – bates# 432-436 =                             $10,410.00
      •   D Three – bates # 437 - 467 =                          $45,442.00
      •   D Three – bates # 2012 - 2034 =                        $47,370.00
      •   D Three – bates # 2036 - 2050 =                        $38,679.00
      •   D Three – bates # 2052 - 2062 =                        $15,010.00

                                      INVOICE TOTAL              $ 210,657.89
Materials & Supplies

      •   RKD – 8/2007: bates# 469-470=                          $266.40
      •   RKD – 8/2007: bates# 471-472=                          $1,066.76
      •   RKD – 10/2007: bates# 473-477=                         $2,946.30
      •   RKD – 11/2007: bates# 478-=                            $3,866.93
      •   RKD – 11/2007: bates#479 =                             $271.40
      •   RKD – bates# 480 =                                     $1,033.87
      •   RKD – bates# 2064 – 2065 =                             $1,672.00
      •   RKD – bates# 2067 – 2071 =                             $2,436.00
      •   R & J Construction Supply Co. – bates# 2073 – 2077 =   $1,760.00
      •   Rankin Invoice – bates# 2079 =                         $1,696.00
      •   Ashland Propane Invoice – bates# 2081-=                $85.00
      •   R & J Construction Supply Co. – bates# 2083 – 2091 =   $1,983.00

                                      INVOICE TOTAL              $19,083.66



Wight

      •   Toltec Services – 9/2007: bates# 482=                  $22,673.00
      •   Home Depot – bates# 483 – 488 =                        $1,789.20
      •   Wight Const. – bates# 489 – 517 =                      $15,447.00

                                      INVOICE TOTAL              $39,909.20



Dumpsters

      •   Allied – March to Aug/07: bates# 519-521 =             $2,957.08


Elevators
                                         4

                                                                                Attachment A
Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 138 of 148 PageID #:2556




      •   PES – 3/2008: bates#2112-2114 =                         $18,072.00
      •   PES – bates# 2119 -2181 =                               $46,775.00
      •   PES – bates# 2183-2185 =                                $10,568.00

                                         INVOICE TOTAL            $75,415.00



Plumbing

      •   Nadolna Brothers bates# 2187 - 2190 =                   $59,533.00


Permit Extensions

      •   City of Chicago, etc. bates# 528 - 536; 2101 - 2110 =   $12,496.00
      •   City of Chicago, etc. bates# 528 - 536; 2101 - 2110 =   $50,126.00
      •   City of Chicago, etc. bates# 528 - 536; 2101 - 2110 =   $24,566.00
      •   City of Chicago, etc. bates# 2106-2108 =                $3,288.00
                                         INVOICE TOTAL            $90,476.00
Additional Flaggers

      •   CTA Flaggers – bates# 2253 - 2256 =                     $218,254.00
General Conditions                                                $1,564,031.00

      •   Wight Contract – bates# OP00471 – OP00474 =
      •   Draw #11 – bates# 1702
      •   Draw #28 – bates# REV00037673
      •   Draw #30 – bates # REV0037719
      •   Draw #31 – bates# REV00041963 =
             INVOICES SUB-TOTAL                                   $4,772,042.33


      Const. Management 5% =

             •   SBD Contract dated 4/2/07 – bates # 551 - 552 = $238,602.12

      O&P 15%

             •   Wight Contract – bates# OP00471 – OP00474 = $715,806.35

      Project Management

             •   SBD Contract – bates# REV00039494 =              $120,000.00


                                            5

                                                                                  Attachment A
Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 139 of 148 PageID #:2557




      Extra Insurance

         •   Insurance = bates# TRVRSUNDERWRITING 25 - 28 $32,612.00


                                         FEES SUB-TOTAL        $1,107,020.47


TOTAL LOSS OR DAMAGE TO COVERED PROPERTY                       $5,879,062.80




                 TOTAL BENEFITS DUE UNDER THE POLICY
LOSS OR DAMAGE TO COVERED PROPERTY                             $5,879,062.80
      Paid by Travelers                                        ($1,104,705.39)
SOFT COST – ESTIMATED (8 months)                               $2,303,237.85
      Paid by Travelers                                        ($235,844.30)
Policy Deductible                                              ($50,000.00)


TOTAL DEMAND_____________________________$6,791,750.96




                                         6

                                                                                 Attachment A
Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 140 of 148 PageID #:2558




                         EARTH RETENTION SYSTEM ALLOCATION


           •   NAC Corp – 3/2007: bates# 15-17 1 =                    $7,082.50
           •   Rada Arch – 3/2007: bates# 30-32 =                     $1,974.50
           •   Professional Associated – 3/2007: bates# 52; 1173-1785 =$15,049
           •   Professional Associated – 4/2007: bates# 53-65 =       $17,616
           •   Professional Associated – 6/2007: bates# 77-78=        $1,336.00
           •   Professionals Associated – 6/2007: bates# 79-80 =      $1,002.00
           •   UCT – 5/2007: bates# 90-91; 1789-1803 =                $4,810.00
           •   UCT – 6/2007: bates# 92-93=                            $10,209.00
           •   UCT – 7/2007: bates# 94- =                             $14,378.00
           •   CTI – Dec. to May: bates# 103 =                        $3,965.00
           •   CTI – May to July: bates# 104 =                        $3,050.00
           •   ASC – July to October: bates#106-108; 1879-1882 =      $6,016.78
           •   Budron – 3/2007: bates# 185-195 =                      $27,279.31
           •   Budron – bates# 196 =                                  $4,140.00
           •   Budron – bates# 198 -203 =                             $4,828.00
           •   Budron – bates# 204-206 =                              $4,376.00
           •   Budron – bates# 207 - 208=                             $4,140.00
           •   Budron - bates# 209 – 214 =                            $7,658.96
           •   Levine – 8/2007: bates# 218 =                          $189,359.00
           •   Sherry K Corp – 4/2007: bates# 220; 2258-2260          $46,620.73
           •   CSM - bates# 231-238 =                                 $2,167.00
           •   CSM – bates# 344-347 =                                 $412,876.00
           •   CSM – bates# 349 =                                     $29,490.00

                                              Invoice Sub-Total      $819,423.78

                            O&P @ 15%                                $122,913.57
                            Construction Management @ 5%             $40,971.19

           TOTAL ERS                                                 $983,308.54




1
    All bates# are to OP-GM/AI00----; unless otherwise noted



                                                                                    Attachment B
Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 141 of 148 PageID #:2559




                                          D-LINE ALLOCATION

           •   Wiss Janney – bates# 19-21 1 =                     $7,500.00
           •   Professionals Associated – 4/2007: bates# 71-76=   $4,224.00
           •   UCT – bates# 95 =                                  $525.00
           •   UCT - bates# 96 =                                  $16,000.00
           •   UCT - bates# 97 =                                  $2,188.00
           •   CSM – bates# 239-253 =                             $19,223.01
           •   CSM – 8/2007: bates# 254-298 =                     $126,092.54
           •   CSM - bates# 343=                                  $4,065.00
           •   CSM - bates# 348- =                                $253,722.00
           •   Cobra Concrete – bates# 350; 1934-1937 =           $4,332.00
           •   Western Arch – 4/2008: bates# 1996-2002=           $22,520.00
           •   D Three– 6/2007: bates# 377-382=                   $6,350.00
           •   D Three – 7/2007: bates#383-390 =                  $6,522.00
           •   D Three – 7/16/07: bates # 390-395=                $1,005.20
           •   D Three – 7/23/07: bates# 396-401=                 $2,050.62
           •   D Three - bates#402-416 =                          $20,420.15
           •   RKD – 11/2007: bates# 478-=                        $3,866.93
           •   Toltec Services – 9/2007: bates# 482=              $22,673.00
           •   Allied – March to Aug/07: bates# 519-521 =         $2,957.08

                                              Invoice Sub-Total   $526,236.53

                            O&P @ 15%                             $78,935.48
                            Construction Management @ 5%          $26,311.83

           TOTAL D-LINE                                           $631,483.84




1
    All bates# are to OP-GM/AI00----; unless otherwise noted



                                                                                Attachment C
Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 142 of 148 PageID #:2560




                  EXPENSES TO REDUCE AMOUNT OF LOSS INVOICES



Winter Conditions

           •   Crouch-Seranko – bates# 372-375 1 =                    $67,799.00
           •   Crouch-Seranko - bates# 1984-1994 =                    $4,518.00
           •   D Three – bates# 432-436 =                             $10,410.00
           •   RKD – bates# 480 =                                     $1,033.87
           •   RKD – bates# 2064 – 2065 =                             $1,672.00
           •   RKD – bates# 2067 – 2071 =                             $2,436.00
           •   R & J Construction Supply Co. – bates# 2073 – 2077 =   $1,760.00
           •   R & J Construction Supply Co. – bates# 2083 – 2091 =   $1,983.00
           •   Rankin Invoice – bates# 2079 =                         $1,696.00
           •   Ashland Propane Invoice – bates# 2081-=                $85.00
           •   Home Depot – bates# 483 – 488 =                        $1,789.20
           •   Wight Const. – bates# 489 – 517 =                      $15,447.00



                            Winter Conditions Sub-Total               $110,629.07



Acceleration

           •   UCT - bates# 98 =                                      $5,211.50
           •   UCT – bates# 99 =                                      $21,064.75
           •   UCT – bates# 100 =                                     $3,460.00
           •   UCT – bates# 101 =                                     $5,749.00
           •   Budron - bates# 209 – 214 =                            $4,260.81
           •   Budron – bates# 215 =                                  $1,140.86
           •   CSM – bates#221-230 =                                  $11,804.00
           •   CSM – bates# 299-342=                                  $56,645.55
           •   Bonus Electric – bates# 356-358 =                      $1,216.40
           •   Bonus Electric – bates# 359-365 =                      $2,669.81
           •   Bonus Electric – bates#1939-1942 =                     $4,079.00
           •   D Three – bates# 417-424=                              $4,902.92
           •   D Three – bates# 425-430=                              $9,788.00


1
    All bates# are to OP-GM/AI00----; unless otherwise noted

                                                          1

                                                                                    Attachment D
Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 143 of 148 PageID #:2561




      •   D Three – 11/2007: bates# 427-431=                    $2,708.00
      •   Crouch-Seranko – bates# 1951-1955 =                   $4,757.00
      •   Crouch-Seranko – bates# 1956-1962=                    $32,591.00
      •   Crouch-Seranko – bates# 2009-2011 =                   $30,986.00
      •   PES – bates# 2119 -2181 =                             $46,775.00
      •   PES – bates# 2183-2185 =                              $10,568.00



                   Acceleration Sub-Total                       $260,377.60



Period of Delay Costs Incurred to Reduce Loss

      •   CSM – bates# 1884 - 1893=                             $225,000.00
      •   CSM – bates# 1895 - 1905 =                            $5,994.91
      •   CSM – bates# 1907 – 1931 =                            $22,958.00
      •   Nadolna Brothers bates# 2187 - 2190 =                 $59,533.00


                   Period of Delay Costs Sub-Total              $857,617.91


      Invoice Sub-Total                                         $1,228,624.58

      O&P @ 15%                                   $184,293.69
      Construction Management @ 5%                $61,431.23


EXPENSES TO REDUCE AMOUNT OF LOSS TOTAL                         $1,474,349.50




                                         2

                                                                              Attachment D
Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 144 of 148 PageID #:2562




                             Expediting Costs and Additional Cost of
                               Construction Materials and Labor




           •   Arrigo Enterprises Inc. - bates# 1943-1945 1=           $53,920.06
           •   Crouch-Seranko -6/2008: bates# 1950=                    $7,790.00
           •   PES – 3/2008: bates#2112-2114 =                         $18,072.00



                                              Invoice Sub-Total        $79,782.06

                            O&P @ 15%                                  $11,967.31
                            Construction Management @ 5%               $3,989.10

           TOTAL ESCALATION                                            $95,738.47




1
    All bates# are to OP-GM/AI00----; unless otherwise noted



                                                                                    Attachment E
                                                                                                                             P-2012-000453638
                                                                                                                             P -2011-000253747
    Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 145 of 148 PageID #:2563




    O     N                    C     T    O                    I N              M     A       S     O      N      R      Y
                                                                                    1 3 0 7 W . W W C H T W Q O D AVENUE
                                                                                            CHICAGO, IUINOIS 6 0 6 1 4
          November 14. 2007                                                            TtLfPHONE ( 7 7 3 ) 2 8 1 - 5 9 0 0
                                                                                          FACSIMILE ( 7 7 3 ) 2 8 1 - 5 9 7 5



          Mr. Josh Warriner
          Wight Construction
          2500 N. Frontage Road
          Darien, Biinois 60561

          VIA FAX: 630-737-0518

          RE: Winter Protection
              One Place Condo

          Dear Mr. Warriner,

          Per your request, we provide the following pricing for enclosure of the hydro scaffolding
          for the purpose of providing winter protection of the scaffolding on the north and west
          only fromfloorsthree to ten for the price of $67,799.00 . Our proposal does not include
          heat, covering of openings, or repair or maintenance of fhe cacJpJirjEjlaflJpjt§njigft i.e.
          w i n d
                                                   08           CJ. .
          We are pricing four months of bracke/rental. Based on the latest schedule, the exterior
          masonry duration is 11/27/07-4/22/07 or a duration of 5 months plus 3 weeks to
          assemble/dismanUe the scaffolding. It appears based on current sire conditions, we would
          start the tower in January and have a duration of 3-4 months. I f the protection is needed
          longer or shorter, the monthly rental f M O32_0O would be adjusted accordingly. Please
                                               n

          note, once the brackets are installed, they remain on the scaffolding for the duration of
          the work.

          Please feel free to contact us with any questions or concerns.

          Sincerely,
          Crouch-Seranko Masonry


          Julie Seranko




                                                                                                                    Attachment F
•A0/3O0                              AUN0SYH OSHvaBS HJO0H3
                                                                                     P-2011-000253748
                                                                                      P-2012-000453639
   Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 146 of 148 PageID #:2564




Pei atuched BraciDg Systems proposal
                                   Cosi
Bracket Rcnul                        4.140
Overhead preelection                 2,100
Damage waiver                          168
                                     6.408
                                       S77
                                     6,085 '

                                 $ 27.939
Oveihcad md pioGt \0>            S. 4,191
Renlil tou                                            M,nn

MMMWK
Liunbex                                   995
Plastic                                 1.090
 Strips                                    59

                     9V.UX                  193
                                        2,337
 13% overhead and profii                  351
 Material tort                                         2,687

 Labor 10 instill brackets and enclose scaffolding
                           Hours Hourly rate 'i       COM
 Foreman                      ^-14 -t 94.00 fY         1,316
 Laborer                        336": k 710IW         2tU0S
                                                      27.524
                      Overhead and profii              4J29
 Labor cost                                       S   31,653
 Tola] labor uvd material                              66,470
 Bond fee -                                       •ytr"*T;329
 Total coil




»oo/eooB                                A«NQSVK 0IHVU3S H300UD
                                                                                 Attachment F
                                                                                   P-2012-000453635
Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 147 of 148 PageID #:2565




                                                                              Attachment G
Case: 1:11-cv-02520 Document #: 123-2 Filed: 08/30/13 Page 148 of 148 PageID #:2566




                                                                              Attachment H
